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                 EXHIBIT 1
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                                                                         1


                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

                                + + + + +

    ____________________________
                                :
    IN THE MATTER OF:           :
                                :
    JAMAL B. ROBINSON,          :
                                :
                Plaintiff,      :
                                :
         v.                     :            C.A. No.
                                :            15-100 (RJL)
    DISTRICT OF COLUMBIA, et al.:
                                :
                Defendant.      :
                                :
    ____________________________:

                   Tuesday,
                   March 13, 2018

                   Washington, D.C.


    DEPOSITION OF:

                           JAMAL B. ROBINSON

    called for examination by Counsel for the
    Defendant, pursuant to Notice of Deposition, in

    the Office of the Attorney General for the

    District of Columbia, located at One Judiciary

    Square, 441 4th Street NW, Washington, DC 20001,

    when were present on behalf of the respective

    parties:



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                                                                         2


    APPEARANCES:

            On Behalf of the Plaintiff:

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            On Behalf of the Defendant:



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                                                     8                                                            10
  1         Q     Behavioral what?                         1 talk about underlying your lawsuit occurred when?
  2         A     Technician.                              2       A     November 6th, 2004?  2014 I believe.
  3         Q     Okay.  What does that work entail?       3       Q     Okay.  Regardless of what year it was,
  4         A     Dealing with special education           4 what year do you remember sitting here right now,
  5   population and the general population as far as      5 as to when it occurred?
  6   behavior and just all around.                        6       A     Right now.
  7         Q     Okay.  How long have you been a          7       Q     Yes.
  8   behavioral technician with DCPS?                     8       A     So what year is it right now?
  9         A     August of this year.  August of '17.     9       Q     No, no, no.  What year did the
 10         Q     Gotcha.                                 10 incident occur that gave rise to your lawsuit? 
 11         A     Yeah.                                   11 What year do you believe that it occurred?
 12         Q     Did you have any training or receive    12       A     2014.
 13   any certifications in order to qualify for          13       Q     Okay.  So regardless of whether it was
 14   employment as a behavioral technician?              14 2013 or 2014, it happened when you were employed
 15         A     My employment with MPD pretty much      15 by MPD?
 16   relates to it.                                      16       A     Yes, that's correct.
 17         Q     What did you do prior to becoming a     17       Q     All right.  And when you were employed
 18   behavioral technician with DCPS?                    18 at MPD, what kind of training, if any, did you
 19         A     I was a teacher.                        19 receive regarding making stops of individuals
 20         Q     Where were you a teacher?               20 when you were ‐‐.
 21         A     H.D. Woodson.                           21       A     To make a stop?
 22         Q     What class did you teach?               22       Q     Yes.


                                                     9                                                            11
  1         A     Algebra I and Geometry.                  1         A     We have to have ‐‐ we had to have
  2         Q     How long were you a teacher there?       2   reasonable suspicion to make a stop.
  3         A     A year.  So from August 2016 to June     3         Q     Okay.  And is it accurate that the
  4   2017.                                                4   training you received at MPD taught you that if
  5         Q     Why did you leave that?                  5   you do have a reasonable suspicion of an
  6         A     Different position.                      6   individual while you're on duty that you can make
  7         Q     Different position at DCPS as a          7   a stop?
  8   behavioral technician?                               8         A     That's correct.
  9         A     Uh‐huh.  Yes, that's correct.            9         Q     Okay.  And were you told or given
 10         Q     And where were you employed prior to    10   examples about what reasonable suspicion means?
 11   being a teacher?                                    11         A     Yes.
 12         A     MPD.                                    12         Q     Okay.  Tell me some of those examples
 13         Q     When did you join MPD?                  13   or some of your training that you received as an
 14         A     April 23rd, 2012.                       14   MPD officer, as to what reasonable suspicion is
 15         Q     When did you leave MPD?                 15   in order to make a stop?
 16         A     January 2016.                           16         A     To have reasonable suspicion to make
 17         Q     So you were with MPD for a little shy   17   a stop, you need a ‐‐ what's that ‐‐ a
 18   of four years, right?                               18   description of the individual, and/or they have
 19         A     Correct.                                19   to be doing something that's against the law to
 20         Q     And what was your position at MPD?      20   stop them for.  
 21         A     Police officer.                         21         Q     Anything else you remember about any
 22         Q     And the incident that we're here to     22   training or education you received at MPD


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                                                     16                                                        18
  1   you stop that individual, detain them and they        1   again?
  2   start resisting, then you can use a reasonable        2               BY MR. GUEST:
  3   amount of force to restrain them?                     3         Q     Of course, and again, any time you
  4               MR. SHABAZZ:  Objection as to form.       4   need me to repeat it, just ask me.  
  5               THE WITNESS:  Reasonable amount of        5         A     Uh‐huh.
  6   force to restrain them, if they are resisting.        6         Q     If you are an off duty officer and you
  7               BY MR. GUEST:                             7   are confronted by an on duty officer, is it your
  8         Q     Okay, and based on your experience and    8   understanding that as the off duty officer, it is
  9   training at MPD, are you aware of the protocol or     9   appropriate to allow the on duty officer to be in
 10   procedure that an on duty officer follows in the     10   control of the situation?
 11   event that they confront an off duty officer?        11               MR. SHABAZZ:  Objection as to form.
 12         A     No.                                      12               THE WITNESS:  No.  The off duty needs
 13         Q     Kind of the opposite question, based     13   to be in control of the situation.
 14   on your training and experience at the MPD, are      14               BY MR. GUEST:
 15   you aware of any protocol or procedure that an       15         Q     The off duty?
 16   off duty officer must follow if they are             16         A     Yes.
 17   confronted by an on duty officer?                    17         Q     Okay.  So if you're an on duty officer
 18         A     You just let them know that you're       18   and you confront an off duty officer, then you
 19   police.                                              19   allow the off duty officer to be in control of
 20         Q     Okay.  Anything else?                    20   the situation?
 21         A     And you let them know that you are       21               MR. SHABAZZ:  Objection as to form.
 22   armed, that you do have your weapon on you.          22               THE WITNESS:  No.


                                                     17                                                        19
  1         Q     Okay, and do you do it in that order?     1               BY MR. GUEST:
  2   Do you let ‐‐ assuming you're an off duty             2         Q     And why is that?
  3   officer, an on duty officer confronts you, do you     3         A     Because I might, as an off duty
  4   do it in the order that you just described, that      4   officer, I might be armed and then I need to tell
  5   you tell the officer that I am MPD officer and I      5   them what's going on.
  6   have a gun?                                           6         Q     Okay.  So even though ‐‐ well I want
  7         A     You let them know that you're a           7   to be clear on ‐‐ we've been using the term "off
  8   police.                                               8   duty officer," and when I've been using that
  9         Q     That's the first thing you tell them?     9   term, I mean an officer who is not on duty at the
 10         A     Right.                                   10   time obviously, but also not showing any outward
 11         Q     Before you tell them anything else,      11   signs that he or she is a police officer, okay?
 12   right?                                               12         A     Uh‐huh.
 13         A     Right.                                   13         Q     Right?  And you understood that,
 14         Q     Okay.  Now I guess my question was       14   right?
 15   more oriented ‐‐ well, strike that.  As an off       15         A     Yes.
 16   duty officer who's confronted by an on duty          16         Q     Okay.  I just want to be clear on
 17   officer, do you also as part of any type of          17   this.  If you're an off duty officer ‐‐ well,
 18   protocol or procedure that you're aware of, defer    18   strike that.  Your testimony is that in any
 19   or allow the on duty officer to be in control of     19   situation where there's a confrontation between
 20   the situation?                                       20   an on duty officer and an off duty officer, that
 21               MR. SHABAZZ:  Objection as to form.      21   the off duty officer should be in charge of the
 22               THE WITNESS:  Repeat that question       22   situation?


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                                                    40                                                         42
  1   protocol of involving Internal Affairs at the         1         Q     Okay.  Do you know whether before the
  2   time of the incident, if you know?                    2   incident giving rise to this lawsuit, whether GRU
  3         A     You're supposed to ask for an             3   to your knowledge had any type of reputation?
  4   official, and then the official goes from there.      4               MR. SHABAZZ:  Objection as to form.
  5         Q     So an on duty officer stops off duty      5               THE WITNESS:  Nothing that I know of.
  6   officer, the protocol is to ask for an Internal       6               BY MR. GUEST:
  7   Affairs official, right?                              7         Q     Okay.  And so it's fair to say that
  8               MR. SHABAZZ:  Objection as to form.       8   before the incident ‐‐ well strike that.  Is it
  9               THE WITNESS:  Just ask for an             9   fair to say that even, you know, sitting here
 10   official.                                            10   today that, you know, you don't really know
 11               BY MR. GUEST:                            11   anything other than the fact that the Gun
 12         Q     Right, to come to the scene, right?      12   Recovery Unit recovers guns in terms of their
 13         A     Yes.                                     13   activities or how they go on patrols or anything
 14         Q     And then they show up and deal with      14   like that?
 15   it, right?                                           15         A     Yeah, I'm not aware of any of that. 
 16         A     Yes.                                     16   They just collect guns.
 17         Q     Okay.  You guys need to ‐‐               17         Q     That's all you know about them?
 18         A     Yeah, I have to ask him something.       18         A     Yep.  If you have a gun, you just call
 19         Q     You can step out.  We'll go off the      19   them.
 20   record.                                              20         Q     Okay.  Do you have any understanding
 21               (Whereupon, the above‐entitled matter    21   based on your experience or training as an MPD
 22   went off the record at 11:16 a.m. and resumed at     22   officer, as to whether there was a use of force


                                                    41                                                         43
  1   11:18 a.m.)                                           1   policy that you had to follow as an officer?
  2               BY MR. GUEST:                             2         A     Yes.  There's a use of force policy.
  3         Q     Do you know what the Gun Recovery Unit    3         Q     Okay, and what's your understanding of
  4   is?                                                   4   that policy?
  5         A     The unit that recovers guns.              5         A     You use the minimal amount of force
  6         Q     Right, GRU?                               6   necessary to control the situation. 
  7         A     Yes.                                      7         Q     Anything else about the use of force
  8         Q     Were you ever on GRU?                     8   policy that you know, other than using the
  9         A     No.                                       9   minimal amount of force necessary to control the
 10         Q     Do you know what type of training        10   situation?
 11   officers on the GRU receive?                         11         A     Pretty much that's about it.
 12         A     No.                                      12         Q     Okay.
 13         Q     Before the incident that we're going     13         A     Minimum amount of force.
 14   to talk about later, did you know anybody on GRU     14         Q     So in a situation that you're facing 
 15   during your time as an MPD officer?                  15   would determine what level of force you would use
 16         A     No.                                      16   as an officer, right?
 17         Q     Okay.  Did you know anything at the      17         A     Correct. 
 18   time ‐‐ well strike that.  Before the incident       18         Q     Okay.  Do you remember when you filed
 19   that we're going to get into, did you ‐‐ did you     19   this lawsuit?
 20   have any sense or understanding about the type of    20         A     I'm not sure.
 21   patrols that GRU officers went on?                   21         Q     I'd like to not tell you.  So you
 22         A     They just look for guns.                 22   filed the complaint in this case in February of


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                                                     48                                                         50
  1   before I had a chance to talk and said you have       1   across the street where ‐‐ in the vicinity of the
  2   any weapons on you?                                   2   wall you were sitting on?
  3               I said that yes, I have my ‐‐ I said      3         A     It was a ‐‐ just a house.
  4   yes, I have my gun, badge and credentials and I'm     4         Q     Was it a vacant house?
  5   MPD.  Then they jumped on me, and then I kept         5         A     I believe so.  It belongs to Ms. Cole. 
  6   telling them that I was MPD, D.C. Police, and         6   It was ‐‐ I think she was not there anymore.
  7   they continued their assault on me.  Then while       7         Q     Okay.  Do you remember any no
  8   handcuff me, I wasn't resisting, another officer      8   trespassing signs or private property signs that
  9   came and put his knee in my neck.                     9   were in the vicinity of the house where you were
 10               And then they flipped me over after      10   sitting on the wall?
 11   they took me down, and then my badge, then they      11         A     Yes.  There was a no trespassing sign
 12   took my gun.                                         12   on the door of the house.
 13         Q     Flipped you over from ‐‐                 13         Q     What about in the lawn?
 14         A     Because they had ‐‐ I was handcuffed.    14         A     Not on the lawn.
 15   So I was laying face down.                           15         Q     What about on the wall?
 16         Q     You were on your stomach?                16         A     Not on the wall.
 17         A     Yes.                                     17         Q     So the only no trespassing sign or
 18         Q     They flipped you over to your back?      18   private property sign that you remember was on
 19         A     Yes.                                     19   the door of the house?
 20         Q     Where was your gun on your person?       20         A     That's correct.
 21         A     On my right side of my hip.              21         Q     So the police pull up in a gray truck,
 22         Q     Where was your badge?                    22   right?

                                                     49                                                         51
  1         A     My badge was on the front of my gun.      1         A     Uh‐huh.
  2   So like in front of it, visible.                      2         Q     Yes?
  3         Q     What credentials are you referring to?    3         A     Yes.
  4         A     My police ID.                             4         Q     And they don't say anything to you and
  5         Q     Where was that?                           5   you just say they jumped out of the truck?
  6         A     In my back pocket.                        6         A     Yeah.  They just jumped out of the
  7         Q     Okay.  When the gray truck pulled up      7   truck and came to me.
  8   and you were sitting outside, did any of the          8         Q     Okay.  How many officers were in the
  9   officers say anything to you before exiting their     9   truck?
 10   vehicle?                                             10         A     It was three.
 11         A     No, they just came over for me.          11         Q     And do you recall ‐‐ well, did all
 12         Q     Where were you sitting outside?          12   three of the officers jump out of the truck at
 13         A     I was sitting across the street from     13   the same time?
 14   my house.                                            14         A     Yes, they did.
 15         Q     And that house you're referring to is    15         Q     And do you have any understanding as
 16   the 5532 C Street, S.E.?                             16   to why the officers stopped their truck?
 17         A     Yes.                                     17         A     No reason why.
 18         Q     So you're just where?  You were          18         Q     Okay.  Who else was with you when you
 19   sitting across the street.  What are you sitting     19   were sitting outside?
 20   on?                                                  20         A     My brother.
 21         A     A wall.                                  21         Q     What's his name?
 22         Q     What was the nature of the property      22         A     Lamont Brown.


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                                                     52                                                            54
  1         Q     And where was Lamont Brown?               1 say police, you don't have to be the police.
  2         A     Inside his vehicle.                       2       Q     Okay.  Well here's my question.  At
  3         Q     Inside his car?                           3 the time of the incident when the officers exited
  4         A     Uh‐huh.                                   4 the vehicle, do you recall noticing at that time
  5         Q     Was anyone else with you?                 5 that they were police officers?
  6         A     No.                                       6       A     Not immediately, no.
  7         Q     Was anyone else in the vicinity?          7       Q     When did you first notice that they
  8         A     No.                                       8 were police officers?
  9         Q     No one walking around?                    9       A     I guess when they tackled me.
 10         A     Not that I know of.                      10       Q     Okay.
 11         Q     No one was sitting with you on the       11       A     When they took my weapon.
 12   wall?                                                12       Q     Did you notice prior ‐‐ so in between
 13         A     No.                                      13 the time the police officers exited the vehicle
 14         Q     No one was in your brother's car with    14 and from when you said that they tackled you and
 15   him?                                                 15 took your weapon, you did not notice them wearing
 16         A     No, it was just him.                     16 any type of clothing that identified that they
 17         Q     So tell me what happened once the ‐‐     17 were in fact police officers?
 18   so you said all three of the officers exited         18       A     They had vests on that said police.
 19   their vehicle at the same time?                      19       Q     So why didn't you think that they were
 20         A     Yes.                                     20 police until they had tackled you and taken your
 21         Q     And you noticed that the officers had    21 gun?
 22   clothing that identified them as police officers?    22       A     Anybody can go buy a vest that says


                                                     53                                                            55
  1         A     They didn't have police uniforms on.      1   police.  That's not nothing that we can't go buy 
  2         Q     I didn't ask that.  I just asked if       2   on Amazon.
  3   they had clothing that identified themselves as       3         Q     Okay.  So you thought instead hey,
  4   police officers?                                      4   these three guys just got out of their vehicle. 
  5         A     They had a vest and I believe on the      5   They're telling me that they want to search me. 
  6   back of it it said "police."                          6   They're wearing clothes that say police on them,
  7         Q     Okay.  What about on the sleeves?         7   and instead of thinking that they're police, I'm
  8         A     On the sleeves?  No, I don't remember     8   going to think that they got their clothes from
  9   that.                                                 9   Amazon and they may not be police?
 10         Q     What about on the front of the vest?     10               MR. SHABAZZ:  Objection as to form.
 11         A     I really don't remember.  It probably    11               THE WITNESS:  No.
 12   said "police."                                       12               MR. SHABAZZ:  Objection.
 13         Q     It probably said police?                 13               BY MR. GUEST:
 14         A     Yeah.                                    14         Q     That's not what you were thinking? 
 15         Q     Okay.  So then when the officers         15         A     No.
 16   exited their vehicle, based on what they were        16         Q     Okay.  So I'm trying to understand
 17   wearing, is it fair to say that you knew they        17   this.  Why did you not think that they were
 18   were police officers?                                18   police officers when they first exited their
 19         A     Not necessarily.                         19   vehicle and had clothing that said "police" on
 20         Q     Well I'm asking you whether you          20   it, and they asked you or they told you they
 21   remember or not?                                     21   wanted to search you? 
 22         A     Just because you wear something that     22         A     Because they didn't identify


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                                                     60                                                       62
  1         A     Right before they tackled me and took     1         Q     Sure.  Where did they park in relation
  2   all my stuff.                                         2   to where your brother was parked?
  3         Q     Right before?  Why?                       3         A     My brother was parked on the ‐‐ on the
  4         A     They just tackled me and took all my      4   ‐‐ where you're supposed to park at on the side,
  5   stuff.                                                5   on the curb, on the side, you know, where you're
  6         Q     So like immediately before then is        6   supposed to park at in D.C., and they just
  7   when you first had the belief that these three        7   stopped in the middle of the street.
  8   individuals were police officers?                     8         Q     So they ‐‐ were they alongside your
  9         A     Yes, immediately before that.             9   brother, ahead of your brother, behind your
 10         Q     And prior to that time ‐‐ well okay.     10   brother?
 11   So they get out of the truck, right?  Right?         11         A     They were ‐‐ they were behind.
 12         A     Uh‐huh, yes.                             12         Q     Okay.  So the officers get out of
 13         Q     They're out of the truck, and you say    13   their truck, right, and then do ‐‐ how many of
 14   they tackled you and take your stuff, right?         14   the three officers approach you?
 15         A     Yes.                                     15         A     I think it was two of them.
 16         Q     How much time passed to your             16         Q     Okay, who?  Do you know what their
 17   recollection of when they exited their vehicle       17   names were?
 18   and you say they tackled you and took your stuff?    18         A     I know it was ‐‐ Pinto was the short
 19         A     I would say ‐‐ I would say it was over   19   Asian one and Clifford was ‐‐ I know one of them
 20   20 seconds, because it was fast.                     20   was ATF.  I'm trying to think.  I'm not sure of
 21         Q     Okay.  So less than a minute you're      21   the two, but I know for sure it was Pinto.  He
 22   saying?                                              22   was there.  

                                                     61                                                       63
  1         A     Yes, less than a minute.                  1         Q     You describe Pinto as short and Asian?
  2         Q     Okay.  So in less than a minute, so       2         A     Was he short, Asian?
  3   the officers get out of the truck, okay?  That's      3         Q     I'm asking you about that.
  4   what you're saying, right?                            4         A     I know he was a short and had a real
  5         A     Yes.                                      5   low cut.
  6         Q     They don't say anything to you while      6         Q     Okay.  So someone who's short, someone
  7   they're in the truck, right?                          7   who you believe is an Asian, and someone who has
  8         A     No.                                       8   a short haircut is one of the officers that
  9         Q     Okay.  So now they're out of the          9   approached you?
 10   truck, all three of them?                            10         A     Yes.
 11         A     Yes they are, all three of them.         11         Q     Okay.  Who, if you don't remember
 12         Q     Okay.  You don't know any of them,       12   their names, describe the other officer who
 13   right?                                               13   approached you?
 14         A     Don't know any of them.                  14         A     He was white with brown hair?  He had
 15         Q     Never seen them before in your life?     15   kind of like taller hair.
 16         A     Never seen them before.                  16         Q     Taller hair?
 17         Q     Okay.  They don't say anything to your   17         A     Yes, like longer hair.
 18   brother at the time or do they?                      18         Q     All right, and you don't remember who
 19         A     I'm not sure if they said anything to    19   that was, in terms of his name?  You don't know
 20   my brother at that time, because I was ‐‐ they       20   what his name is?
 21   was by me, so I really wasn't looking at my          21         A     I don't remember his name.
 22   brother.  I know he was just sitting in the car.     22         Q     All right.


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                                                         64                                                           66
  1          A     What are the three, what are their          1    one of the officers said to you on this date that
  2    three names?                                            2    we're talking about?
  3          Q     You sued them.                              3          A     Yes.
  4          A     Huh?                                        4          Q     First thing out of their mouth is
  5          Q     Do you know any of the three names of       5    "Stand up, I want to search you"?
  6    the officers that you sued initially?                   6          A     Yes.
  7          A     Maurice Clifford, Pinto and a third         7          Q     Okay.  You say, as you testified
  8    one who I ‐‐ I don't know.                              8    earlier no, I'm not going to let you search me?
  9          Q     Okay.  The third one, his name is Ryan      9          A     Right.
 10    Roe, and you understand he's not in the lawsuit        10          Q     Right, okay.  And immediately they
 11    anymore, right?                                        11    came back, as you said, and asked you if you had
 12          A     Right.                                     12    any weapons?
 13          Q     So there's two officers in the             13          A     Yes.
 14    lawsuit, Scott Pinto and Maurice Clifford.             14          Q     And you say, as you testified earlier,
 15          A     Scott Pinto and Maurice Clifford.          15    "Yes, I have a gun, badge and credentials,"
 16          Q     So you're saying the short Asian guy       16    right?
 17    and a white guy with brown hair are two of the         17          A     Yes.
 18    officers that approached you?                          18          Q     Okay.  Then you said that's when the
 19          A     Yes.                                       19    officers, as you describe, jump on you?
 20          Q     All right.  What was the other officer     20          A     Yes.
 21    doing?                                                 21          Q     Okay.  So two officers approach you,
 22          A     He was ‐‐ he was out the vehicle.          22    this exchange happens, and then you said they

                                                         65                                                           67
  1       Q     What was he doing?                             1 jump on you.  Did both of those officers jump on
  2       A     I'm not ‐‐ I'm not sure.                       2 you at the same time?
  3       Q     Okay.  You don't know what his name            3       A     Yes.
  4 was, what he looked like?                                  4       Q     Okay, and describe for me exactly what
  5       A     I don't remember what he was doing.            5 happened?  What do you mean they jumped on you?
  6       Q     I didn't ask you that.  What did he            6       A     They just jumped on me.
  7 look like?                                                 7       Q     What does that mean? 
  8       A     I don't recall.                                8       A     They just ‐‐
  9       Q     Okay.  So he's doing something and you         9       Q     You have to describe the scene for me.
 10 don't know what he's doing?  How do you know he's         10       A     Like tackled, tackled me.
 11 out of ‐‐ out of the car, out of the truck?               11       Q     How?
 12       A     Because I seen when all three of them         12       A     Like they just tackled me, just
 13 got out the truck.                                        13 charged me?
 14       Q     Okay.  So one of the three officers is        14       Q     Charged you?
 15 out of the truck.  You don't know what he's doing         15       A     Yes.
 16 though?                                                   16       Q     Okay.  So what part of your body did
 17       A     No.                                           17 they touch first?  You're sitting on this wall,
 18       Q     Okay.  Two of the officers approach           18 right?  
 19 you?                                                      19       A     Yes.
 20       A     Yes.                                          20       Q     They're in front of you, right?
 21       Q     Okay.  One of the officers says "Stand        21       A     Yes.
 22 up so I can search you."  Is that the first thing         22       Q     And they say ‐‐ you say they charged


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                                                      72                                                       74
  1          A     Pinto.                                    1               MR. SHABAZZ:  Objection.
  2          Q     And that's the guy you're describing      2               THE WITNESS:  Well, I wasn't taught
  3    as short and Asian?                                   3   that in the Academy, what they did.
  4          A     Yeah.                                     4               BY MR. GUEST:
  5          Q     Why did you say "no, you can't search     5         Q     Do you know what it is?
  6    me"?                                                  6         A     Yeah, I know what a tactical takedown
  7          A     Because I don't need to be searched.      7   is.
  8    I didn't do anything.                                 8         Q     Okay.  That's what I'm asking you, did
  9          Q     Okay.  Any other reason why you did       9   they perform a tactical takedown?
 10    not stand up so they could search you?               10               MR. SHABAZZ:  Objection as to form.
 11          A     Because if I stand up, I wouldn't be     11               THE WITNESS:  They just tackled me.
 12    controlling the situation.                           12               BY MR. GUEST:
 13          Q     Why is that?                             13         Q     Okay.  What's a tactical takedown?
 14          A     Because I need to let them know, I       14         A     Tactical takedowns, like when you grab
 15    needed to control the situation.                     15   someone's arm or something like that, and you
 16          Q     Okay.  So you believe by refusing to     16   slam them to the ground.
 17    stand up to be searched and remaining seated,        17         Q     Okay, and the officers that you say
 18    when there are two people in front of you that       18   tackled you, they did that?  They took you down. 
 19    have police on their clothing, that that was         19   They grabbed your arms and they flipped you over
 20    controlling the situation?                           20   to restrain you in handcuffs, right?
 21          A     Yes, it was controlling the situation.   21         A     No, they didn't grab my arms.  They
 22          Q     In your mind?                            22   just tackled me.  They just hit me in the front.


                                                      73                                                       75
  1         A     Yes, in my mind I was controlling the      1         Q     Okay.  Were they laying on top of you?
  2   situation.                                             2         A     Yeah.
  3         Q     And then the next thing the cop or the     3         Q     They were laying on top of you, both
  4   officers say to you ‐‐ well, do you know which of      4   officers?
  5   ‐‐ no, you said Pinto said "Stand up so I can          5         A     They just both came.
  6   search you."  Which of those two officers asked        6         Q     I'm not asking you that.  I'm asking,
  7   you if you had any weapons?                            7   I'm asking what happened?  I need to know the
  8         A     It was him.                                8   specific details, and I'm asking you, when you
  9         Q     The same guy?                              9   say that they tackled you, jumped on you, were
 10         A     Yes.                                      10   they laying on top of you?
 11         Q     And the next thing you said was yeah,     11         A     Yes, they were laying on top of me.
 12   I have a gun, badge, credentials, right?              12         Q     Their bodies were on your body?
 13         A     Yes, I'm MPD.                             13         A     Yes, their bodies were on my body.
 14         Q     Well when did you say "I'm MPD,"          14         Q     What, were they kneeling with their
 15   after?                                                15   hands on you or were they kind of like belly‐
 16         A     Right.  I did say gun, badge,             16   flopping on you?  I mean how were they laying? 
 17   credentials, I'm MPD.                                 17         A     It was a belly flop, and then the
 18         Q     Okay.  And then they basically do a       18   other one was putting his knee on my neck.
 19   tactical takedown?                                    19         Q     Okay.  So somebody's entire body with
 20         A     I never learned that tactical             20   their stomach was on you?
 21   takedown.                                             21         A     Yes.
 22         Q     You don't know what that is?              22         Q     Okay.  Who was that?


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                                                     76                                                         78
  1          A     Pinto.                                    1         A     Yes.
  2          Q     Okay, the short Asian guy?                2         Q     Okay, and everything we've talked
  3          A     Yes.  I'm not sure if he's Asian.  I'm    3   about that's taken place you say happened in
  4    saying what his look.                                 4   about 20 seconds?
  5          Q     I understand.  He wasn't white?           5         A     Yeah.  It was all that was like pretty
  6          A     His skin was.                             6   fast, under a minute.
  7          Q     Well, you're describing him as Asian.     7         Q     Okay.  How many times after they
  8    Is he ‐‐                                              8   restrained you did you say you were MPD?
  9          A     Well, Asian people are white.             9         A     I said it several times.
 10          Q     Was he ‐‐ was he someone that you        10         Q     How many?
 11    would describe as Caucasian?                         11         A     Several, more than three.
 12          A     His skin color was, you know, the        12         Q     More than five?
 13    same.                                                13         A     I'm saying that's more than three.
 14          Q     Okay.  But you just ‐‐                   14         Q     More than five?
 15          A     I don't want to get stuck up on like,    15         A     I just kept saying it.
 16    you know, ethnicity, right.  His skin wasn't         16         Q     How many times?
 17    brown like mine.                                     17         A     I can't recall, but I know I said it
 18          Q     Right.  He wasn't a black guy?           18   more than three.
 19          A     He wasn't a black guy.                   19         Q     More than ten?
 20          Q     In your opinion?                         20         A     I don't think it was that many times.
 21          A     He wasn't a black guy.                   21         Q     All right.  So between three and under
 22          Q     Okay.  Wasn't a Latino guy in your       22   ten?

                                                     77                                                         79
  1    opinion?                                              1         A     Yeah, there we go.
  2          A     He could have been Latino.                2         Q     All right.  So now you're on your
  3          Q     He could have been Latino, could have     3   stomach.  How long did it take the officers to
  4    been of Asian descent?                                4   place you in handcuffs?
  5          A     Yeah, it could have been Latino or        5         A     Immediately.  Like I said, I didn't
  6    Asian descent, yeah.                                  6   resist.
  7          Q     But you didn't think he was a             7         Q     All right.  You said you didn't
  8    Caucasian male?                                       8   resist?
  9          A     Uh‐uh.  Like I said, his skin was ‐‐      9         A     No.
 10    all the skin the same.                               10         Q     Okay.  So while you're in handcuffs,
 11          Q     All right.  So who put their knee on     11   you're under ‐‐ are you still on your stomach?
 12    your neck?                                           12         A     Yeah.  So I'm still on my stomach and
 13          A     Not Pinto.                               13   they flip me over.
 14          Q     Okay, the other guy?                     14         Q     Okay, or did they flip you over are
 15          A     The other guy, yes.                      15   you lying on your back, or did they flip you over
 16          Q     And at this time, where's the third      16   where you're sitting back on the wall? 
 17    officer?                                             17         A     Yeah, they flipped me over.  I was
 18          A     He's over there on my right side.        18   sitting back on the wall.
 19          Q     Oh, so he came and ‐‐ came over?         19         Q     Okay.  So you're in handcuffs, you're
 20          A     Yes.                                     20   sitting on the wall now?
 21          Q     So you're on your stomach at this        21         A     Yes.
 22    point?                                               22         Q     All right.  Tell me what happens next.


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                                                     80                                                        82
  1         A     So I'm talking to them, and I kept        1   again?
  2   telling them that, you know, just take out my         2         A     The one with the longer hair.
  3   credentials out of my back pocket and just put        3         Q     Okay.  So how long transpired before,
  4   them on the ground, because you could see my          4   or between when you were flipped back over,
  5   badge because it was showing, and that was it.        5   sitting on the wall, they called the officials?
  6   They just called an official.                         6         A     What you mean, how long transpired?
  7         Q     Okay.  What were you talking about?       7               MR. SHABAZZ:  Objection as to form.
  8         A     No, I just told them, I'm like ‐‐ just    8               BY MR. GUEST:
  9   told them that they fucked up.                        9         Q     So you ‐‐ they put, you're sitting
 10         Q     Okay.  Did you say anything other than   10   back on the wall and then they called the
 11   they fucked up?                                      11   officials, right?
 12         A     I just kept telling them that I ‐‐ I     12         A     Correct.
 13   told them I was police.  I'm like yeah, what         13               MR. SHABAZZ:  Objection as to the
 14   y'all did was messed up.  Y'all fucked up.           14   form.
 15   That's it.                                           15               BY MR. GUEST:
 16         Q     What, say that again?                    16         Q     When you're saying that they called
 17         A     I just told them that I ‐‐ I kept        17   the officials, that means Internal Affairs,
 18   telling them I was the police and that they          18   right?
 19   fucked up.                                           19         A     No.  They just called their official.
 20         Q     Oh okay, and tell me what kind of        20         Q     Who's their official?
 21   clothes you were wearing that day?                   21         A     Whoever's the official or the watch
 22         A     Tan pants, green shirt and a coat.       22   commander for their unit.

                                                     81                                                        83
  1         Q     What kind of coat?                        1         Q     Okay.  So why do you think they did
  2         A     It was a black jacket.                    2   that, based on your knowledge as an MPD officer?
  3         Q     Was it buttoned up or zipped up?          3         A     Because they messed up.
  4         A     It was open.                              4         Q     That's what you think?
  5         Q     Okay, and you say that you had your       5         A     That's what I know.
  6   badge on the front of your right hip?                 6         Q     Okay.  So the official, does the
  7         A     Yes.                                      7   official come to the scene?
  8         Q     And I think you said, I wasn't sure       8         A     Yes, he comes to the scene.
  9   though, do you believe that your badge was            9         Q     Okay.  Now based on your recollection, 
 10   visible based on where you were wearing it and       10   how long went by from the time that one of the
 11   the clothes you were wearing?                        11   officers called their official and the official
 12         A     It was visible.                          12   showed up?
 13         Q     Okay.  Okay, and you believe that ‐‐     13         A     It was over an hour.
 14   why do you say it was visible then?                  14         Q     Okay, and what happened after the
 15         A     Because it was.                          15   official showed up?
 16         Q     Okay.  And you said that then they       16         A     The official let me out of handcuffs,
 17   called the officials?                                17   and then gave me my ‐‐ he told me to go talk to
 18         A     Yes.                                     18   Internal Affairs, because they were on the scene
 19         Q     And who was the officer that made the    19   too.
 20   decision to call the officials?                      20         Q     Okay.  
 21         A     Clifford.                                21         A     Then they gave me my gun and my stuff
 22         Q     Clifford, and which one's Clifford       22   back.


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                                                     92                                                        94
  1   the sergeant I guess.  My understanding is what       1         A     To be honest with you, I was away from
  2   the sergeant said, oh okay; what Internal Affairs     2   that area where he was at, so I don't know when
  3   said, oh okay.  They didn't go into any more          3   he was taken away.
  4   detail about their views on what happened to the      4         Q     Okay, and you said that the first of
  5   scene that they were called to?                       5   these individuals who was called to the scene
  6               MR. SHABAZZ:  Objection as to form.       6   showed up was over an hour after you were
  7               THE WITNESS:  No.                         7   detained?
  8               BY MR. GUEST:                             8         A     Yes.  I was in handcuffs for all that
  9         Q     They did not express any views to you?    9   time.
 10         A     No, that was done later.                 10         Q     Yeah, and I'm asking you say over an
 11         Q     They did not say oh, they fucked up or   11   hour, what does that mean?  Well, I know what it
 12   anything like that, referring to the officers?       12   means, but how can ‐‐ can you give me a more
 13         A     That was later.                          13   specific time frame that you recall having been
 14         Q     Okay, that was later?                    14   in handcuffs?
 15         A     Yeah, days later.                        15         A     It was over an hour because it was
 16         Q     Okay.  Anyone else show up to the        16   daytime outside at the time, and by the time I
 17   scene that we haven't already talked about,          17   was out of handcuffs, it was dark.
 18   including people who may not have known, worked      18         Q     Okay.  So you believe it's over an
 19   for or affiliated with MPD that you can remember?    19   hour.  Was it an hour and a half, hour and 15
 20         A     Oh, like I said, Lamont Brown and it     20   minutes?
 21   was Marquette Austin.  He was out there.  I know     21         A     It just was over ‐‐ I know for a fact
 22   he spoke to them.                                    22   it was just over an hour.  It was over an hour.


                                                     93                                                        95
  1         Q     Sure.                                     1         Q     So it could have been approximately an
  2         A     That was it.                              2   hour in mind?
  3         Q     And what was going on with your           3         A     It could have ranged from an hour to
  4   brother during this time?  I'm talking about from     4   an hour and 45, the hour or two hours.  I just
  5   the time the truck pulls up until you're let go,      5   know it was over an hour.  I gave you an
  6   what's your brother doing?                            6   approximate time.
  7         A     I believe they arrested him.              7         Q     You think it could have been over two
  8         Q     I think they did.                         8   hours?
  9         A     Yeah, I believe they arrested him.        9         A     No.  It was over an hour, under two
 10         Q     Okay.  What did they arrest him for?     10   hours.
 11         A     They said for a suspended license.       11         Q     All right, and you can't tell me
 12         Q     Okay, and at the time your brother's     12   anything more specifically than that?
 13   license was suspended?                               13         A     No.
 14         A     I'm assuming so, since they arrested     14         Q     Okay.  So you're sitting on this wall
 15   him.                                                 15   the entire time in handcuffs, waiting for other
 16         Q     Okay.  So he was taken away from the     16   individuals to respond to the scene?
 17   scene?                                               17         A     Correct.
 18         A     Yeah, I think he was.                    18         Q     Okay.  So what are you doing?  Are you
 19         Q     Was he taken away from the scene         19   just sitting there?  Are you talking to these
 20   before any of these other people we talked about,    20   officers who detained you?  What's going on?
 21   the sergeant, lieutenant, Internal Affairs or        21         A     I was sitting there.  I was ‐‐ like I
 22   Crime Scene showed up to the scene?                  22   said, I didn't have anything else to say to them.


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                                                     96                                                        98
  1         Q     Okay.  Are they talking to you?  Are      1   questions, you know, to go through.  So are you
  2   they engaging you?                                    2   good?
  3         A     They were talking.                        3         A     Uh‐huh, yes.
  4         Q     What were they saying?                    4         Q     Okay.  What time do you recall the
  5         A     I don't remember.                         5   truck arriving in the location where you were
  6         Q     You didn't say anything to them?          6   sitting on the wall?
  7         A     No.  I didn't really have too much to     7         A     It was probably around like 4:00,
  8   say after that.                                       8   4:20‐ish p.m.
  9         Q     Okay.  So they basically got you          9         Q     Okay.  So what did you ‐‐ were you on
 10   detained, got you in handcuffs.  They're going       10   duty at all during ‐‐ well, you're off duty,
 11   about their business, you're just sitting there?     11   right?  I mean at this time, you're not on duty
 12         A     I just probably was rambling.            12   as a police officer?
 13         Q     What were you rambling about?            13         A     Right.  I was off duty.
 14         A     That they ‐‐ what they did was messed    14         Q     Did you work that day?
 15   up.                                                  15         A     No.
 16         Q     Okay.  Did you talk ‐‐ did you make      16         Q     So what did you do?  Kind of just tell
 17   those kinds of comments the entire time you were     17   me about your day leading up to this time where
 18   waiting for other officials to show up while         18   the truck arrived where you were?
 19   you're in handcuffs sitting on this wall?            19         A     I was sitting there waiting to pick up
 20         A     No, not the entire time.                 20   my kids.
 21         Q     Okay.  Did you say anything to them      21         Q     Okay.  Well what were you ‐‐ I'm
 22   other than that they messed up?                      22   talking about the day, your entire day before

                                                     97                                                        99
  1         A     I asked them to take me out of            1   this happened.  What did you do that day?  You
  2   handcuffs.                                            2   didn't work, so what did you do?
  3         Q     Okay, and what did they say?              3         A     I just lounge around.  Like I said, I
  4         A     No.                                       4   might go to the school with the kids.  I do the
  5         Q     Why, to your knowledge?                   5   fish tank for the school.  I'm real active at the
  6         A     I don't know why.                         6   school, so probably just hanging out at the
  7         Q     Did they say why they were leaving you    7   school with the kids.  
  8   in handcuffs?                                         8         Q     So you ‐‐ what time did your kids go
  9         A     They ain't have no reason to.             9   to school?
 10         Q     Okay.  They had no reason to?            10         A     From 8:45 to what's that, school get
 11         A     No.                                      11   out around like 4:30.  So school is from 8:45 to
 12         Q     Okay.                                    12   6:00.
 13         A     I don't know why.                        13         Q     So your kids leave the house early in
 14         Q     You've got to use the restroom man?      14   the morning, right?
 15   Is that what you said?                               15         A     Yes.
 16         A     No, I said I don't know why ‐‐           16         Q     They're in school all day?
 17         Q     Mr. Robinson, I'm sorry.                 17         A     Yes.
 18         A     No, I didn't know why I was in           18         Q     What are you doing?
 19   handcuffs for.                                       19         A     Working out?
 20         Q     Oh, gotcha.  If you need to take a       20         Q     Working out where?
 21   break, I mean let me know, because we've been        21         A     At the gym.
 22   going for a while, and I've got many more            22         Q     Okay.  What else did you do?


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                                                     104                                                       106
  1         A     No.                                         1   that environment, that area, that part of town?
  2         Q     Okay.  So what was going on with James      2         A     C Street is great.  It's a lot of
  3   and Lamont?                                             3   houses on the street, you know.  People have been
  4         A     I don't really remember.  I think it        4   there all their lives.
  5   probably was over brakes or something like that         5         Q     Okay.  So you know a lot of the
  6   and then it got heated, and I just went out there       6   neighbors?
  7   to just talk to him.                                    7         A     I know all of my neighbors.
  8         Q     Okay, and James was not there?              8         Q     Okay.  Around the time when you were 
  9         A     No, he wasn't there.                        9   stopped, do you know if there were ‐‐ I'm talking
 10         Q     And so what did you and Lamont talk        10   about maybe the months leading up to this, would
 11   about?                                                 11   you describe it as an area that had a lot of
 12         A     I just asked him what happened.            12   crime?
 13         Q     What did he tell you?                      13         A     C Street doesn't have any crime, but
 14         A     I really don't remember.                   14   the probably surrounding areas.  But not C
 15         Q     All right.                                 15   Street, no.
 16         A     And just was sitting out there just        16         Q     And when you say "the surrounding
 17   talking to him.                                        17   areas," how big of an area are we talking about?
 18         Q     Was it upsetting to you whatever he        18         A     That's the 6th District, so you know,
 19   was telling you?                                       19   it's booming.  It's pretty ‐‐ it can be almost
 20         A     Yeah, it was ‐‐ it wasn't upsetting        20   anything.
 21   for me, but it was just petty, kind of like a          21         Q     And when you say it's booming, that
 22   petty argument, that was all.                          22   means that it's a high crime area?


                                                     105                                                       107
  1          Q     So hearing about the petty argument,       1         A     Southeast.  All of Southeast is pretty
  2    did it make you agitated or anything like that?        2   much high crime if you want to classify it as
  3          A     No.  I just was ‐‐                         3   that.
  4          Q     This was ‐‐ I'm sorry.                     4         Q     Sure.  It's an area where there's a
  5          A     I just like oh, y'all need to not          5   lot of illegal drug activity?
  6    worry about stupid stuff like that.                    6               MR. SHABAZZ:  Objection as to form.
  7          Q     Okay.  So how long had you lived in        7               THE WITNESS:  There's no drugs on C
  8    that house that was in the 5500 block of C             8   Street.
  9    Street?                                                9               BY MR. GUEST:
 10          A     All my life.                              10         Q     Well, I'm not saying specifically C
 11          Q     And at the same time, did you have the    11   Street, but I'm saying the surrounding area where
 12    other place up on Horner Place?                       12   you testified that there's ‐‐ it's a high crime
 13          A     Yes.                                      13   area, you would also agree that there are ‐‐
 14          Q     Okay, and so at that time, at the time    14   there's illegal drug use in that surrounding
 15    we're talking about the incident in November          15   area, right?
 16    2013, you would split time living at this place       16         A     No, I wouldn't say that.
 17    and the Horner Place residence?                       17         Q     Okay.  Just high crime, right?
 18          A     Yes.                                      18         A     Honestly, it's really nothing goes on
 19          Q     And so you're pretty familiar with the    19   around that.
 20    5500 block of C Street?                               20         Q     Had you been drinking that day?
 21          A     Yes.                                      21         A     No, I didn't drink.
 22          Q     All right, and how would you describe     22         Q     Were you ever in the car with your


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                                                   108                                                       110
  1   brother?                                              1         Q     Don't know anything about them?
  2         A     No.                                       2         A     Don't know anything about them.
  3         Q     When he was arrested, what happened to    3         Q     Still don't know much about them?
  4   his car?                                              4         A     Still don't know anything about them.
  5         A     Honestly, I'm not sure.                   5         Q     Okay.  You mentioned that there was a
  6         Q     All right.  So your mom's around.  Did    6   knee on your neck during the time that you were
  7   she ever come out during this whole incident that     7   being detained, is that right?
  8   happened from her house?                              8         A     Yes.
  9         A     Yes.  I told her to go back home.         9         Q     Okay.  How long did one of the
 10         Q     So tell me about that.  What happened?   10   officers place his knee on your neck?
 11         A     I told her just go back in the house.    11         A     His knee was on my neck the whole time
 12         Q     When did she first see you?              12   I was on my stomach.
 13         A     I would say after everything             13         Q     How long was that?
 14   transpired.                                          14         A     I would say under ten seconds.
 15         Q     So does that mean after you were         15         Q     Okay, and you said another officer was
 16   released from handcuffs?                             16   laying on you?
 17         A     It was ‐‐ I think I was still in         17         A     Initially.
 18   handcuffs around that time when she came over.       18         Q     Yeah, right.  That's what you said,
 19         Q     You think or you know?                   19   initially.
 20         A     No, I think.  Yeah, I believe I was      20         A     Yeah.
 21   still in handcuffs during that time she came         21         Q     How long did that last?
 22   over.                                                22         A     Not long.

                                                   109                                                       111
  1         Q     So your mom comes out of the house,       1         Q     For how long?
  2   approaches you.  You're sitting on the wall in        2         A     A couple of seconds.
  3   handcuffs and you just say ‐‐ what did she say to     3         Q     Okay.  So do you think, based on your
  4   you?                                                  4   experience as a police officer, that the two
  5         A     She asked me what's going on.             5   officers who were involved in that situation with
  6         Q     Okay, and what did you say?               6   you, were restraining you on your stomach for
  7         A     I just told her to go back in the         7   purposes of putting you in handcuffs?
  8   house.                                                8         A     Yeah.
  9         Q     That was it?                              9         Q     Okay, and they were taking actions
 10         A     Yeah.                                    10   that you would take as a police officer to
 11         Q     You didn't say anything else?            11   restrain someone and put them in handcuffs?
 12         A     No.                                      12         A     No.
 13         Q     She never came back out?                 13         Q     You don't think?
 14         A     Nope.                                    14         A     No.
 15         Q     What's her name?                         15         Q     Why not?
 16         A     Rose.                                    16         A     Because you don't have to knee anybody
 17         Q     Rose ‐‐                                  17   in the neck.
 18         A     Robinson.                                18         Q     Okay.  
 19         Q     Robinson.  Going back to these three     19               (Pause.)
 20   officers, you said that you had never seen them      20               BY MR. GUEST:
 21   before in your life, right?                          21         Q     How long had you been talking to your
 22         A     Yeah, I never seen them before.          22   brother before the police officers showed up?


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                                                   112                                                       114
  1         A     I would say probably for like 30          1               MR. SHABAZZ:  Objection as to form. 
  2   minutes, 30, 30 minutes.                              2   Objection as to form.
  3         Q     You all right, man?  30 minutes?          3               THE WITNESS:  I never went to jail,
  4         A     Yeah, probably around that time, a        4   no.
  5   little more.                                          5               MR. GUEST:  So you were never
  6         Q     And when the officers approached you      6   arrested?
  7   initially, got out of the car and approached you      7               MR. SHABAZZ:  Objection as to form.
  8   and you were sitting on the wall, how would you       8               THE WITNESS:  I was placed in
  9   describe your demeanor or your behavior at that       9   handcuffs.
 10   time?                                                10               MR. GUEST:  Right, but we had already
 11         A     It was really relaxed.                   11   talked about earlier today the difference between
 12         Q     Do you have any other words you can      12   a stop and an arrest, and you were never
 13   use to describe yourself?                            13   technically arrested?
 14         A     Like I said, I was just relaxed.         14               MR. SHABAZZ:  Objection as to form.
 15         Q     Okay, and when the officers first told   15               THE WITNESS:  Uh‐huh, yeah.  I would
 16   you ‐‐ when the first words out of the officer's     16   say that, I wasn't arrested.
 17   mouths to you were "stand up so I can search         17               BY MR. GUEST:
 18   you," and you said no, right?  We already talked     18         Q     Okay.  You said you ‐‐
 19   about that.  Do you remember that?                   19         A     Wasn't.
 20         A     Yes.                                     20         Q     Was not, okay.  At the time the truck
 21         Q     Okay.  Would you describe your           21   pulled up, based on your training and experience
 22   attitude as being maybe a little stubborn or         22   was an MPD officer, do you think that there was


                                                   113                                                       115
  1   indignant?                                            1   any situation involving your brother and his car
  2         A     No.                                       2   that would have prompted the officers to stop by
  3         Q     Would you say that your attitude was      3   his car?
  4   somewhat defiant to these police officers?            4         A     No, because that's the GRU, the Gun
  5         A     No, I won't say I was defiant.            5   Recovery Unit.  So he don't carry any guns.
  6         Q     Well, how would you describe yourself,    6         Q     Okay.  So because it's your
  7   because you were not complying with their             7   understanding that the Gun Recovery Unit just
  8   request.  So how would you describe how you were      8   looks for guns, that they had no reason to pull
  9   behaving?                                             9   along the side of your brother's car?
 10         A     My behavior was ‐‐                       10         A     No reason whatsoever.
 11               MR. SHABAZZ:  Objection as to form.      11         Q     Okay.  Let me ask you this.  As a
 12               THE WITNESS:  My behavior?  It was       12   normal on duty officer just on patrol, is there
 13   relaxed.  I was in a relaxed state.  My behavior     13   anything you remember about the circumstances
 14   wasn't agitated or nothing like that, so I was       14   involving your brother's car that would have
 15   relaxed.                                             15   prompted just a normal on duty police officer to
 16               BY MR. GUEST:                            16   stop by your brother's car and see what was
 17         Q     Okay.  Did you ever tell the officers    17   happening?
 18   that they weren't going to take your gun?            18         A     Nothing at all.
 19         A     No.                                      19         Q     Okay, and what about ‐‐ do you know if
 20         Q     Okay.  And you were never technically    20   he was illegally parked?
 21   arrested, right?                                     21         A     He was parked legally.
 22         A     No.                                      22         Q     Legally?


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                                                        116                                                     118
  1       A     Yes.                                           1               (Pause.)
  2       Q     Okay, and do you think that there was          2               BY MR. GUEST:
  3 anything relating to your behavior that may have           3         Q     So about 20 seconds passes, under a
  4 prompted the GRU officers in particular to pull            4   minute passes from when the police officers exit
  5 over and check out what was going on?                      5   their vehicle and put you in handcuffs?
  6       A     No.                                            6         A     Yeah.  All that was under a minute.
  7       Q     Same question for if you're a routine          7         Q     And one guy had ‐‐ one officer had his
  8 patrol officer on patrol, on duty, seeing your             8   knee on your body for under ten seconds, and the
  9 brother in a car, seeing you on the wall, do you           9   other officer was contacting your body for just a
 10 think there was any reason for them to pull               10   couple of seconds, right?
 11 alongside and see what was going on?                      11         A     Yes, that sounds about right.
 12       A     None whatsoever.                              12         Q     And when they ‐‐ when they put you on
 13       Q     Okay, and did you ever ask any of the         13   your stomach, did they in your opinion harm any
 14 officers why are you approaching me?  Why are you         14   other parts of your body that we haven't talked
 15 talking to me?  What are you doing?                       15   about?
 16       A     No.                                           16         A     Like I say, tackled me, knee, turned
 17       Q     Okay.  Now after you were placed in           17   over, I turned over.  There was a knee on my
 18 the handcuffs and you said, you know, you guys            18   neck, my arms behind my back.
 19 fucked up or you messed up or whatever it was,            19         Q     Okay, and that's it?
 20 were you angry at that time?                              20         A     And then they were putting the
 21       A     Yes, I was upset.                             21   handcuffs on me.
 22       Q     Okay.  Were you using other swear             22         Q     Okay.  Any way about in how the


                                                        117                                                     119
  1   words at that time?                                      1   handcuffs were put on you that hurt your body?
  2         A     Not that I recall.                           2         A     Yes.
  3         Q     Okay.  Prior to being placed in              3         Q     Tell me about that?
  4   handcuffs, did you use any profanity with the            4         A     To position the handcuffs, messing
  5   officers?                                                5   with my shoulders and stuff. 
  6         A     No.                                          6         Q     Okay.  Problems with your shoulders?
  7         Q     Okay.  Did you ever tell any of the          7         A     Yeah, because they had the handcuffs
  8   officers I'm not going to do what you say before         8   on funny.  My hands were funny.
  9   being placed in handcuffs, aside from saying I'm         9         Q     Anything else that happened that hurt
 10   not going to stand up so you can search me?             10   your body?
 11         A     No, I didn't tell them I wasn't going       11         A     The handcuffs being left on me for so
 12   to do what they say.                                    12   long.
 13         Q     Okay.  In general, you never said oh,       13         Q     Yeah, you talked about that.  Anything
 14   I'm not going to do what you say?                       14   else?
 15         A     Yeah, I never said that.                    15         A     Other than the knee and the ‐‐ that's
 16         Q     You just said I'm not going to stand        16   about it.
 17   up so you can search me?                                17         Q     Okay, and then I think your counsel
 18         A     Yeah, I just said that.  I'm not            18   had, you know, some sort of medical record
 19   standing up to be searched.                             19   reflecting that you went to, you know, seek some
 20         Q     Okay, okay.                                 20   kind of ‐‐ you went to see a doctor, right?
 21         A     Like I'm not letting you search me.         21         A     Yes.
 22         Q     Okay.                                       22         Q     Where did you go?


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                                                    120                                                       122
  1          A     Kaiser.                                   1               THE WITNESS:  Yeah.  I don't really
  2          Q     Okay.  That's up the street from here,    2   understand that question.
  3    right?                                                3               BY MR. GUEST:
  4          A     I went to the Kaiser in Camp Springs.     4         Q     Yeah, sure.  It wasn't very clear at
  5          Q     Okay gotcha, so and how, what, tell me    5   all. 
  6    about that doctor's visit?                            6         A     Yeah.
  7          A     She said I had a muscle strain and        7         Q     The incident happens on November 6th?
  8    they prescribed me Flexeril.                          8         A     Correct.
  9          Q     Okay, and what's Flexeril?                9         Q     You go see your doctor on November
 10          A     That's a muscle relaxer.                 10   7th?
 11          Q     How long did you ‐‐ did you take that?   11         A     Okay.
 12          A     Yes.                                     12         Q     You're diagnosed with some kind of
 13          Q     How long did you take it?                13   sprain, right?
 14          A     It was for ten days.                     14         A     Right, strain.
 15          Q     Okay, and did you actually see a         15         Q     You get a muscle relaxant for ‐‐ and
 16    doctor or was it the nurse practitioner?             16   you take it for ten days.  Did you take it for
 17          A     No, I actually seen my doctor.           17   all ten days? 
 18          Q     A doctor.                                18         A     Yes.
 19          A     My primary care physician.               19         Q     Was there any other time other than
 20          Q     Got it, got it.  So you were diagnosed   20   that visit to your doctor that you sought medical
 21    with a strain; you take a muscle relaxant for        21   attention relating to any injuries that you claim
 22    about ten days, right?                               22   resulted from the incident on November 6th?


                                                    121                                                       123
  1         A     Yes.                                       1         A     Oh yes.  I had to go to the Police and
  2         Q     Did the doctor tell you anything else      2   Fire Clinic.
  3   to do to deal with any kind of situation you were      3         Q     Okay.  When was that?
  4   dealing with?                                          4         A     The 7th.
  5         A     Ice.                                       5         Q     Same day?
  6         Q     Okay.                                      6         A     Yes.
  7         A     Ice on my neck and stuff like that.        7         Q     Okay, and why did you go to the Police
  8         Q     Okay.  So you've got the neck strain,      8   and Fire Clinic?
  9   right?                                                 9         A     Because I have to report any injuries
 10         A     Yeah, and my neck and my shoulders.       10   I sustained.
 11         Q     Okay, and then after ‐‐ you know, you     11         Q     And is that the only reason why you
 12   never ‐‐ did you ever seek treatment subsequently     12   went there?
 13   for anything that you claim hurt your body as a       13         A     It's mandatory.
 14   result of this incident?                              14         Q     Right, that's what I'm saying.  That's
 15         A     Yeah.  That's what I went to the          15   the only reason why you went there?
 16   doctor for, for that.                                 16         A     I had to go.
 17         Q     That's what I'm saying.  Anything         17         Q     You didn't have to go because you ‐‐
 18   other than the visit to your doctor that occurred     18   you didn't have to go for medical treatment,
 19   the day after, that relates to anything that you      19   because you had already seen your doctor, right?
 20   claim hurt your body relating to the incident?        20         A     Right.
 21               MR. SHABAZZ:  I have an objection as      21         Q     Okay.  So other than what we just
 22   to the form of the question.                          22   talked about, any other visits to any health care


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                                                    132                                                      134
  1    right?                                                1   based on being an MPD officer why you were
  2          A     I did.                                    2   referred to and made to go see a psychiatrist
  3          Q     You did?                                  3   regarding the incident?
  4          A     Yes.                                      4         A     That's probably just protocol when
  5          Q     Okay.  Tell me about that.                5   something like that happens.
  6          A     I had to go see the ‐‐ I think it was     6         Q     Okay.  Do you know if anybody else
  7    the psychiatrist for D.C. government.  So they        7   involved in the incident was also referred to you
  8    made me go see them.                                  8   or saw a psychiatrist?
  9          Q     They made you?                            9         A     I'm not sure.
 10          A     Yeah, they made me.                      10         Q     Not sure.  So I'm looking at one of
 11          Q     Okay.  Did you want to go?               11   the medical records that your attorney provided,
 12          A     Yeah, I went.                            12   that says at the time of the visit on November
 13          Q     Did you want to go?                      13   7th that you weighed about 225, 225 pounds?
 14          A     Yeah, I didn't have no problem with      14         A     Yes.
 15    it.                                                  15         Q     Okay.  Is that about how big you are
 16          Q     All right.  What was the                 16   now you think?
 17    psychiatrist's name?                                 17         A     I'm a little bigger.
 18          A     I don't remember.                        18         Q     Okay.  But back then you were 225?
 19          Q     When did you see the psychiatrist?       19         A     Right.
 20          A     I believe it was in November.  I don't   20         Q     And what's your height?
 21    know the exact date.                                 21         A     5'10.
 22          Q     November 2013?                           22         Q     Okay.  Do you know if there were any

                                                    133                                                      135
  1         A     Yeah, November 2013, yes.                  1   investigations that occurred relating to the
  2         Q     How many visits did you have with the      2   incident?
  3   psychiatrist?                                          3         A     I just know that Internal Affairs
  4         A     I think it was one.                        4   investigated the whole incident.
  5         Q     How long was the visit?                    5         Q     Okay.  Did you part in the
  6         A     Probably a little less than an hour.       6   investigation?
  7         Q     What did you talk about?                   7         A     I was asked information.
  8         A     She just asked me how I was feeling.       8         Q     And did you give that information?
  9         Q     What did you tell her?                     9         A     Yes.
 10         A     She just asked me ‐‐ I told her I was     10         Q     Okay.  Do you know why an
 11   feeling good.  I don't have any problems.  Asked      11   investigation was conducted?
 12   me about relationships and stuff like that.           12         A     I don't.  
 13         Q     Okay.  Did she prescribe you any          13         Q     Did you ‐‐ well, what was the nature
 14   medications?                                          14   of the investigation to your knowledge?
 15         A     No.                                       15         A     Honestly, I don't even know.
 16         Q     Did she recommend that you have visits    16         Q     You just knew there was an
 17   later with her?                                       17   investigation?
 18         A     No.                                       18         A     Yeah.
 19         Q     Okay.  Why to your knowledge were you     19         Q     And you knew there was an
 20   made to go see the psychiatrist?                      20   investigation about the incident on November 6th?
 21         A     I was told because of the incident.       21         A     Yeah, I just know there was an
 22         Q     Okay.  Do you have any understanding      22   investigation on November 6th.


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                                                   136                                                             138
  1         Q     And that's all you knew about the         1       A     Yeah, correct.
  2   investigation?                                        2       Q     Because and let me, I just want to
  3         A     Right.                                    3 clarify this.  When you were an MPD officer, I
  4         Q     Do you know what the outcome of the       4 mean you would go out and go on patrol, you had a
  5   investigation was?                                    5 squad car, right?
  6         A     I was sent back to full duty.             6       A     Yes.
  7         Q     To what?                                  7       Q     Okay, and you would go about and make
  8         A     Full duty.                                8 arrests and respond to calls and things like
  9         Q     For?                                      9 that, right?
 10         A     Full, F‐U‐L‐L.                           10       A     Correct.
 11         Q     Full, full duty.                         11       Q     And that was pretty much the same
 12         A     Yes.                                     12 during the entire time you were a police officer?
 13         Q     Okay.  So let me understand that.        13       A     Yes.
 14   During the time the investigation was going on,      14       Q     All right.  So you were on non‐contact
 15   were you on limited duty?                            15 duty for a month or so.  You returned to full
 16         A     I was on what they call non‐contact.     16 duty after the investigation is over?
 17         Q     And when were you placed on non‐         17       A     Yes.
 18   contact duty?                                        18       Q     And what did you recall the
 19         A     On the 7th.                              19 investigation to conclude?
 20         Q     Of November?                             20       A     That I wasn't wrong in the findings,
 21         A     Yes.                                     21 and that I was able to get all my gun and my
 22         Q     Of 2013?                                 22 badge and stuff back and go back to work.


                                                   137                                                             139
  1         A     Yes.                                      1       Q     Okay.  So when you were on non‐contact
  2         Q     Okay, and how long did you remain on      2 duty, you did not have your badge and your gun?
  3   non‐contact duty?                                     3       A     No.
  4         A     For ‐‐ it was over a month.               4       Q     Okay, and you believe that the
  5         Q     Is it your recollection that you were     5 investigation determined that you were not wrong?
  6   ‐‐ well, so it was over a month is what you said?     6       A     It did.
  7         A     Yes.                                      7       Q     It determined that you did nothing
  8         Q     And then after that time passed, you      8 wrong; is that true?
  9   were put back on full duty?                           9       A     Yeah, I didn't do anything wrong.
 10         A     Yes.                                     10       Q     Okay.  What else do you know about any
 11         Q     So is it your understanding that prior   11 investigation into the incident? 
 12   to the beginning of 2014, you had returned to        12       A     That I just know I was investigated,
 13   full duty?                                           13 and that they investigated the officers, and
 14         A     Yes, I did.                              14 that's all.
 15         Q     And what does non‐contact duty mean?     15       Q     Okay, and when you're saying
 16         A     That you cannot have any contact with    16 "investigated the officers," are you referring to
 17   the public as a police officer.                      17 Pinto, Clifford and Roe?
 18         Q     Got it.  So what did you do during       18       A     Correct.
 19   your day‐to‐day duties when you were on non‐         19       Q     And what do you know, if anything,
 20   contact duty?                                        20 about the outcome of that investigation?
 21         A     I just sat at the station.               21       A     I really didn't keep track of what
 22         Q     Okay.  Did more administrative work?     22 happened to them.  I just know that they were all 


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  1   communications to you or statements to you about    1         Q     That's it, okay.  So we've got the Gun
  2   the Gun Recovery Unit?                              2   Recovery Unit, you know.  Their job is to go
  3         A     Right.                                  3   around and get guns off the street, right?
  4         Q     Okay.  You don't remember who they      4         A     Right.
  5   were?                                               5         Q     Okay, and prior ‐‐ at the beginning of
  6         A     I don't remember any by name from       6   the deposition, near the beginning, you told me
  7   that.                                               7   that that's all you knew about the Gun Recovery
  8         Q     When did you talk to them?              8   Unit, right?
  9         A     Around that time.                       9         A     Right.
 10         Q     So we're talking about the end of      10         Q     Okay, and apart from anything that you
 11   2013?                                              11   just told me about them being cowboys or acting
 12         A     Correct.                               12   aggressively, or just seeing complaints about how
 13         Q     What did they tell you?                13   they do things, you don't have any other
 14         A     Just that's how they act and that's    14   knowledge about the Gun Recovery Unit?
 15   what they do.                                      15         A     Yeah, that's it.
 16         Q     What does that mean?                   16         Q     All right.  Do you think getting guns
 17         A     That's them.  I'm just telling you     17   off the street is important?
 18   that's what they said.                             18         A     Yes.
 19         Q     What is "that's how they act" mean     19         Q     Do you think it's a valuable job for
 20   specifically?                                      20   the District of Columbia to be doing?
 21         A     They just ‐‐ just aggressive like      21         A     Yes.
 22   that.                                              22         Q     Do you think that getting guns off the


                                                 169                                                       171
  1         Q     Aggressive.  Did they use the term      1   street at times can be dangerous?
  2   "aggressive"?                                       2         A     It is.
  3         A     Yeah.                                   3         Q     It is, because you're taking guns off
  4         Q     What else did they say?                 4   the street.  So you're putting yourself in danger
  5         A     I really don't remember, but I just     5   to accomplish that job, right?
  6   remember they said they're just aggressive like     6               MR. SHABAZZ:  Objection as to the
  7   that.                                               7   form.
  8         Q     Okay.  That's all you can remember      8               THE WITNESS:  Being a police is
  9   when you tell me about any of the conversations     9   dangerous, period.
 10   you had with MPD personnel about this situation?   10               BY MR. GUEST:
 11         A     Yeah.  Right now, yes.                 11         Q     I agree.
 12         Q     Okay.  So where did the information    12         A     It doesn't matter what you do in it. 
 13   come from that said they acted like cowboys?       13   It's just dangerous.
 14         A     Came from another officer.             14         Q     Sure, because sometimes when you're a
 15         Q     So aggressive, act like cowboys?       15   police officer or you're in the Gun Recovery
 16         A     Uh‐huh.                                16   Unit, you encounter people that have weapons,
 17         Q     Yes?                                   17   right?
 18         A     Yes.                                   18         A     Everybody encounter people with
 19         Q     Any other information that you can     19   weapons.
 20   specifically tell me aside from aggressive, act    20         Q     Right, that's what I'm saying.
 21   like cowboys?                                      21         A     Right.
 22         A     Pretty much that's about it.           22         Q     And when you encounter someone with


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                                                   172                                                       174
  1   weapons, you're putting yourself in a dangerous       1   documents you were looking at?
  2   situations, right?                                    2         A     That was not specific, it just was
  3         A     Yeah.                                     3   general.
  4         Q     Okay.  Or when you are encountering       4         Q     Then how ‐‐ so how is it general if
  5   people with weapons and believe you were in a         5   they're specifically saying profiling?
  6   dangerous situation, then you take measures to        6         A     They didn't say profiling.  They're
  7   protect yourself, right?                              7   just saying that ‐‐
  8         A     Yeah or so.                               8         Q     You just said it.  You just said that
  9         Q     Okay.  So did you see any documents or    9   you saw the word "profiling" in the documents
 10   have any conversations with any officers that        10   that you were looking at on the database.
 11   specifically mention racial targeting?               11         A     Never said I seen the word
 12         A     That's what ‐‐ that's what they read     12   "profiling."
 13   from the ‐‐ from the complainants that were          13         Q     Okay.  So we're clear on racial
 14   making the complaints.                               14   targeting, we're clear on profiling.  Did you see
 15         Q     Did you see that?  Did you see           15   any information that indicated any harassment and
 16   statements in the actual documents that you were     16   violations of constitutional rights of African‐
 17   looking at on the database that said specifically    17   Americans in the documents that you were looking
 18   that there was racial targeting going on?            18   at on the MPD database?
 19         A     Yes, people stated it.                   19         A     Yes.
 20         Q     So and then a couple of minutes ago      20         Q     Okay, tell me about that?
 21   you told me you couldn't remember any of the         21         A     They said, you know, that the unit was
 22   details in the documents?                            22   harassing people. 


                                                   173                                                       175
  1         A     Like I say, I don't have the exact        1         Q     Now that's different than saying that
  2   details.                                              2   the Gun Recovery Unit was engaging in harassment
  3         Q     Then how can you remember that they       3   and violations of constitutional rights of
  4   have racial targeting in the documents if you         4   African‐Americans?
  5   said you don't have any of the details of the         5               MR. SHABAZZ:  Objection as to the form
  6   statements that were contained in the documents       6   and characterization of the question.
  7   that you were looking at on the database?             7               THE WITNESS:  Like I said, that's the
  8         A     Like I say, I can't give you pinpoint     8   only thing, the people that they mess with.
  9   information about ‐‐                                  9               BY MR. GUEST:
 10         Q     You just did.                            10         Q     Okay.  So what are you talking about?
 11         A     That wasn't pinpoint.                    11         A     The only mess with blacks.
 12         Q     You just said you saw the word "racial   12         Q     Okay.  Did you see that in documents
 13   targeting."                                          13   or is that just your impression of reading
 14         A     I never said I seen the word racial      14   complaints about the Gun Recovery Unit?
 15   targeting.                                           15         A     That's what you see.  That's not what
 16         Q     Okay.  That was my mistake then.  Did    16   ‐‐ it didn't say like we just target blacks, but
 17   you see any statements in the documents that you     17   you know, on paper it say the race you are.
 18   were looking at on the database that dealt with      18         Q     Okay.  So let me just cut it, see if
 19   profiling?                                           19   I can clear this up.  You're looking at documents
 20         A     That's what they were saying.            20   from people who filed complaints, and some of
 21         Q     So you have the specific memory now of   21   them you noticed were African‐American?
 22   what the complainants were saying in the             22         A     Everybody was.


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                                                   188                                                       190
  1         Q     Did you have any investigations after     1               MR. SHABAZZ:  Objection as to form.
  2   the incident that occurred on November 6th, 2013?     2               THE WITNESS:  In March 2014.
  3               MR. SHABAZZ:  Objection as to form.       3               BY MR. GUEST:
  4               THE WITNESS:  Yeah, but that don't        4         Q     Okay, and were you disciplined as a
  5   have nothing to do with this though.                  5   result of a fleeing?
  6               BY MR. GUEST:                             6         A     Yes.
  7         Q     What did it have to do with?              7         Q     What happened?
  8         A     Not this.                                 8               MR. SHABAZZ:  Objection, wait until I
  9         Q     What did it have to do with though?       9   answer.  Would you repeat the question?
 10         A     Nothing.                                 10               MR. GUEST:  Yes sir.  What was the
 11         Q     Well, there was an investigation,        11   result of the investigation that involved the
 12   right?                                               12   fleeing?
 13         A     But it doesn't have anything to do       13               MR. SHABAZZ:  Objection as to form,
 14   with this.                                           14   continuing objection to this line of questioning.
 15         Q     Right.  No, I'm asking what the          15               THE WITNESS:  I was put on non‐contact
 16   investigation that doesn't have anything to do       16   again.
 17   with November 6th, 2013 incident have to do with?    17               BY MR. GUEST:
 18         A     Nothing.                                 18         Q     For how long?
 19         Q     So why was there an investigation?       19         A     Two years.
 20         A     It wasn't.  It was no prior ‐‐ no        20         Q     Okay.  So that puts us from March 2014
 21   investigation prior to the incident.                 21   until the beginning of 2016?
 22         Q     No, I'm talking about after the          22         A     Right.


                                                   189                                                       191
  1   incident.  So after November 6th, 2013, were you      1         Q     And was the result of the
  2   ever under an investigation at MPD?                   2   investigation and the incident involving the
  3               MR. SHABAZZ:  Objection as to form.       3   fleeing your ultimate termination from MPD?
  4               THE WITNESS:  Yeah, but it doesn't        4         A     Yes.
  5   have anything to do with this.                        5         Q     So tell me about the circumstances
  6               MR. GUEST:  Okay, and I'm asking you.     6   that involve you fleeing?  What happened?
  7               MR. SHABAZZ:  You can answer.             7         A     I was going to work and I was just
  8               THE WITNESS:  Huh?                        8   driving on, and they stated that I was fleeing.
  9               MR. SHABAZZ:  You can answer.             9         Q     So you were driving your car on the
 10               BY MR. GUEST:                            10   way to work?
 11         Q     I'm asking you what the investigation    11         A     Uh‐huh.
 12   had to do with?                                      12         Q     Yes?
 13         A     Fleeing.                                 13         A     Yes.
 14         Q     Fleeing.                                 14         Q     And a police vehicle come up behind
 15         A     Uh‐huh.                                  15   you and turn on the lights?
 16         Q     And I provided your attorney a           16         A     Yeah, that's what they said.
 17   document that I'm aware of that resulted in an       17         Q     Well, is that what happened?
 18   indictment, I believe, that dealt with fleeing,      18         A     I didn't see them.
 19   is that right?                                       19         Q     Okay.  So what, just kind of walk me
 20         A     Uh‐huh, correct.                         20   through what happened then?
 21         Q     When did that occur, the incident, the   21         A     Driving to work.  I got to the gate. 
 22   fleeing?                                             22   They said like hey, we were behind you.  I was


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                                                          196                                                     198
  1   were indicted?                                             1   Alleged Misconduct by Officer Jamal Robinson,
  2         A     I went to court.                               2   First District, IS 13003158, IAD No. 13‐321." 
  3         Q     Okay, and what was the result of the           3   The date stamp is "Jamal Robinson, NTC 910".
  4   court proceeding?                                          4               (Pause.)
  5         A     They said I was guilty.                        5               THE WITNESS:  Okay.
  6         Q     Okay.  Did you plead not guilty?               6               BY MR. GUEST:
  7         A     Yes.                                           7         Q     Have you seen this before?
  8         Q     Okay, and when was the court                   8         A     Yes.
  9   proceeding?                                                9         Q     Yes?
 10         A     January 2015.                                 10         A     Yes.
 11         Q     And then you were ultimately                  11         Q     Okay, and I'd like to direct your
 12   terminated from MPD as a result?                          12   attention please to the third paragraph that
 13         A     Yes.                                          13   starts "Subsequently."  It says that
 14         Q     Did you appeal that decision?                 14   "Subsequently, Officers Pinto, Clifford and Roe
 15         A     No.                                           15   encountered unknown to them off duty Officer
 16         Q     Okay.  Have you ever been charged with        16   Robinson, after conducting a traffic stop on a
 17   any other crimes?                                         17   parked vehicle regarding a tint window
 18         A     No.                                           18   violation."  Did I read that correctly?
 19         Q     Okay.  Do you think that incident             19         A     Yeah, you read it correctly.
 20   involving the fleeing had anything to do with ‐‐          20         Q     All right.  So do you agree or do you
 21   well what were the races and ethnicities of the           21   remember, based on this sentence, that the
 22   officers involved in that, again with the                 22   officers had stopped by your brother's car

                                                          197                                                     199
  1 fleeing?                                                     1   regarding a tint window violation?
  2       A     White and black.                                 2         A     So they stopped his car.  What that
  3       Q     Huh?                                             3   had to do with me?
  4       A     White and black.                                 4         Q     No, I'm asking about the tint window
  5       Q     Okay.  One white officer, one black              5   violation? 
  6 officer?                                                     6         A     You can't.  You can't pull nobody over
  7       A     Yes.                                             7   to tint.
  8             MR. SHABAZZ:  Objection.  Just I have            8         Q     Okay, and your brother was already
  9 a continuing objection to questioning him on any             9   parked, right?
 10 investigation after this incident pertaining to             10         A     He was parked.  That's what it says.
 11 this lawsuit.                                               11         Q     Okay.  But do you remember anything
 12             MR. GUEST:  Let me hand you a document          12   about a tint window violation?
 13 that I'm going to mark as Exhibit 2, and ask you            13         A     That's what they said that they
 14 to review that and whether you've seen it before.           14   stopped him for?
 15             (Whereupon, the above‐referred to               15         Q     Well, do you remember that?
 16 document was marked as Robinson Exhibit No. 2 for           16         A     No.
 17 identification.)                                            17         Q     Okay, and it says "Officer Robinson
 18             MR. SHABAZZ:  Let me see that.                  18   was given several directives and failed to comply
 19             (Pause.)                                        19   with the on duty officer's commands."  Do you
 20             MR. GUEST:  Have you seen this before?          20   agree or disagree with that?
 21 And what I'm referring to is titled in the                  21         A     Like I said, they asked me to stand up
 22 subject "Final Investigation Related to the                 22   so they could search me, I said no.  So yeah, I


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                                                   200                                                      202
  1   did disagree with their command.                      1         Q     Okay, and do you agree that's what
  2         Q     Okay, so you would agree with this        2   happened?
  3   sentence?                                             3         A     Yeah.  I told them that ‐‐ yeah.
  4         A     Well, not several.  Just that.            4         Q     And do you agree that that was the
  5         Q     Okay, and then it says "Officer           5   result of the investigation, that they found that
  6   Robinson also used profanity towards the officers     6   based on these facts and circumstances, that you
  7   during the handcuffing phase of the encounter."       7   had engaged in misconduct?
  8   Do you agree with that?                               8         A     I don't believe there was misconduct.
  9         A     No.                                       9         Q     But that's what the Internal Affairs
 10         Q     It says "Officer Robinson was detained   10   Division determined, based on their review of the
 11   for the period of identification and released        11   facts and circumstances, right?
 12   after the scene was made safe."  Do you agree        12         A     Yeah, that's what I read.
 13   with that?                                           13         Q     Okay.  And then in the last carrying
 14         A     No, because they already knew who I      14   over, it says "It is also the recommendation that
 15   was.                                                 15   the Internal Affairs Division that the facts and
 16         Q     Okay.  It says "Officer Robinson has     16   circumstances surrounding this investigation
 17   admitted that the on duty officer's directive        17   regarding the allegation of officer misconduct,
 18   shall be complied with and that he used profanity    18   orders and directives by Officer Jamal Robinson,
 19   towards the on duty officers after being             19   specifically that he used profanity toward on
 20   handcuffed."  Do you agree with that?                20   duty MPD Officers Pinto, Clifford and Roe after
 21         A     No.                                      21   being stopped on November 6th, 2013, be
 22         Q     Then it says ‐‐ well first of all, you   22   classified as sustained," right?


                                                   201                                                      203
  1   understand that this is the result of the             1         A     Uh‐huh.
  2   investigation into alleged misconduct by you?         2         Q     That's what it says?
  3         A     Okay.                                     3         A     Which paragraph was that?
  4         Q     Right?                                    4         Q     The one I just read.
  5         A     Yeah.                                     5         A     Was the first sentence ‐‐
  6         Q     And you understand that the alleged       6         Q     It's the one that carries over from
  7   misconduct was a result of the incident that took     7   one page to the next.
  8   place on November 6th, 2013, right?                   8         A     Oh okay.  Yeah, I didn't see it. 
  9         A     Okay.                                     9   Yeah, that's what it states.
 10         Q     Do you understand that?                  10         Q     Okay, and do you agree with that?
 11         A     Yeah.                                    11         A     No.
 12         Q     Okay.  Then it says "It is the           12         Q     Okay.  But you agree that based on
 13   recommendation of the Internal Affairs Division      13   this document, the Internal Affairs ‐‐
 14   that the facts and circumstances surrounding this    14         A     No, no, I did use profanity.
 15   investigation regarding the allegation of officer    15         Q     Okay. 
 16   misconduct by Officer Jamal Robinson specifically    16         A     Yeah.  I did use profanity.
 17   when approached by members of GRU," and I'm          17         Q     Okay, and you recall now that the
 18   skipping a few words, "He failed to identify         18   Internal Affairs Division determined that you had
 19   himself as a member of MPD prior to advising on      19   engaged in misconduct because of their review of
 20   duty officers that he was armed with a weapon be     20   the facts and circumstances specifically
 21   classified as sustained," right?                     21   regarding your use of profanity, right?
 22         A     Yeah, that's what it says.               22         A     That's what it says.


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                                                         212                                                          214
  1 review the whole thing great, but I can just                1         Q     "When Officer Robinson said he had a
  2 direct you to some of the statements that I'm               2   gun, he had not yet identified himself as an off
  3 interested in.                                              3   duty MPD officer."  Do you agree with that?
  4             (Whereupon, the above‐referred to               4         A     Yeah, because I'm saying it and I
  5 document was marked as Robinson Exhibit No. 4 for           5   agree.
  6 identification.)                                            6         Q     Okay.  Further down, it says
  7             THE WITNESS:  Uh‐huh.                           7   "Furthermore, it was reported that Officer
  8             BY MR. GUEST:                                   8   Robinson was actively resisting during the
  9       Q     Okay.  That's okay?                             9   handcuffing."  Do you agree with that?
 10       A     Yeah, that's fine.                             10         A     Disagree.
 11       Q     Okay.  Please look at page 16.                 11         Q     Okay.  Do you recall making any
 12       A     Okay.                                          12   movements or giving any indication that you may
 13       Q     The last sentence on the page please,          13   have been about to flee the scene?
 14 and it says Officers Pinto, Clifford and Roe were          14         A     No, sitting down.
 15 operating unmarked vehicle with no front tag and           15               (Pause.)
 16 tinted out windows, and they were wearing                  16               BY MR. GUEST:
 17 plainclothes with tactical vests with the word             17         Q     On the paragraph just above on page
 18 "police" displayed across the front and the rear           18   17, just above "Findings."
 19 of their vests, right?                                     19         A     Uh‐huh.
 20       A     Yeah, that's what it says.                     20         Q     It starts "During this event."  Please
 21       Q     And does that refresh your                     21   direct your attention to the sentence that says
 22 recollection as to the appearance of the officers          22   "Officer Robinson stated that after acknowledging


                                                         213                                                          215
  1 during the incident on November 6th, 2013?                  1 that he had a gun, he indicated that he had a
  2       A     Yes, that's what it says.                       2 badge and ID."  Do you agree with that?
  3       Q     So does that refresh your memory and            3       A     Yeah.
  4 now you can remember how they were appearing when           4       Q     In the Findings section, it states
  5 they exited the vehicle?                                    5 "When questioned by the on duty MPD members as to
  6       A     They had plainclothes on with a vest.           6 if he was armed as an active armed MPD officer
  7       Q     That said "police," right?                      7 when first approached, Officer Robinson should
  8       A     It was on the back.                             8 have done more to make his identity known."  Do
  9       Q     This says it was on the front.                  9 you agree with that?
 10       A     On the front of it?  I don't really            10       A     To know more.  It was ‐‐ I did what I
 11 remember that.                                             11 did.
 12       Q     Okay.  In the second full paragraph            12       Q     I'm sorry?
 13 that starts "During the contact."  It says                 13       A     I told them I was who I was.
 14 "During the contact, Officer Robinson did not              14       Q     No, but I'm saying based on how ‐‐
 15 identify himself, refused directives given to him          15 what the sentence suggests is that "When
 16 by on duty officers."  Do you agree with that?             16 questioned by the on duty MPD members as to if
 17       A     No.                                            17 you were armed as an active MPD officer when
 18       Q     It says "When Officer Robinson said he         18 first approached, Officer Robinson should have
 19 had a gun, he had not yet identified himself as            19 done more to make his identity known."  Do you
 20 an off duty MPD officer."  Do you agree with               20 agree that you should have done more at the time
 21 that?                                                      21 of the incident on November 6th to have made your
 22       A     Say it again?                                  22 identity known to the officers?


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                                                        216                                                     218
  1       A     I think I did.  I did, I let them              1         Q     Take a look at the Exhibit 4 on page
  2 know.  There's nothing more I can do.  I told              2   14.  
  3 them, I told them what it was.                             3         A     Okay.
  4       Q     So you disagree with this?                     4         Q     And this has a statement recorded from
  5       A     Yeah, I disagree with it.                      5   you; correct?
  6       Q     Do you believe that the police                 6         A     I'm not sure.  Where it at?
  7 officers who were on the scene on November 6th in          7         Q     On page 14.
  8 any way mistreated your brother?                           8         A     Okay.
  9       A     Yeah.                                          9         Q     It says "Involved officer's statement,
 10       Q     Okay, and how do you ‐‐ what are your         10   Officer Jamal Robinson, 1st District," right?
 11 thoughts on that?                                         11         A     Uh‐huh, yes.
 12       A     He was arrested for nothing.                  12         Q     And do you recall giving a statement
 13       Q     Okay.  Do you believe they mistreated         13   on November 7th?
 14 your brother?                                             14         A     Yes.
 15       A     Yeah, that's mistreatment.                    15         Q     Okay.  If you take a look at page 15.
 16       Q     Well, in terms of how they were               16         A     Okay. 
 17 handling him if at all or speaking to him?                17         Q     On March 9th, 2014, you gave a
 18       A     Like I say, I just don't think it was         18   supplemental audio statement, that's what it
 19 no point to talk to them.                                 19   says?
 20       Q     But other than that, you don't think          20         A     Yes.
 21 the police officers engaged in any mistreatment?          21         Q     Do you remember giving both of those
 22       A     I wouldn't have been arrested.                22   statements?


                                                        217                                                     219
  1         Q     Do you know whether or not any of the        1         A     Yes.
  2   three officers that are involved in this lawsuit         2         Q     Okay.  If you went to the second to
  3   affirmatively filed any type of complaint against        3   last bullet point on page 15, it says that
  4   you?                                                     4   Officer Robinson stated that the on duty officer
  5         A     I don't know.                                5   is in charge when confronting an on duty officer;
  6         Q     When did you decide to file this             6   correct?
  7   lawsuit?                                                 7         A     Yes.
  8         A     Right after the incident.                    8         Q     Okay, and was that your position at
  9         Q     Did you consult with anybody not             9   the time on March 19th, 2014 when you gave this
 10   including your attorneys about whether to file a        10   statement?
 11   lawsuit?                                                11         A     Yes.
 12         A     I just talked to my attorney.               12         Q     Okay, and if you turn to page 16, it
 13         Q     Okay.  Take a look at what was Exhibit      13   says "Additionally, he stated that it was
 14   2.                                                      14   approximately one to three minutes passed before
 15         A     Uh‐huh.                                     15   he was handcuffed."  And that's a statement you
 16         Q     I apologize.  You believe the incident      16   gave on March 9th, 2014, right?
 17   could have happened later in the day than 4:00 or       17         A     Yes, that's what I gave.
 18   4:30?                                                   18         Q     Okay, and does that refresh your
 19         A     No.                                         19   recollection in terms of how long had passed
 20         Q     Okay.                                       20   between when you were initially contacted by the
 21               (Pause.)                                    21   officers and when you were placed in handcuffs?
 22               BY MR. GUEST:                               22         A     Like I said this, what I said one


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                                                   224                                                      226
  1         Q     Okay, and you saw yourself on the         1         A     Yes.
  2   video after you had been put in handcuffs, right?     2         Q     Okay.  Do you think it's a reasonable
  3         A     Yes.                                      3   action to take if you see someone stopped in a
  4         Q     And I understand you had a muscle         4   car that has illegally tinted windows, to stop
  5   strain, but there were no physical indications on     5   and investigate what's going on?
  6   your face or anywhere else on your body that you      6         A     No.
  7   had been injured, right?                              7         Q     Okay.  Do you believe that it's a
  8         A     No.                                       8   reasonable action to take to stop and engage with
  9         Q     What injuries do you recall seeing on     9   someone who is sitting on a wall that has no
 10   the video that indicated you had been injured on     10   trespassing signs on the property?
 11   any part of your body?                               11               MR. SHABAZZ:  Objection as to form.
 12         A     I don't remember seeing anything on      12               THE WITNESS:  No.
 13   the video.                                           13               MR. GUEST:  Okay.  At the time that
 14         Q     That's what I'm saying.  Did the video   14   you were ‐‐ that you first encountered the
 15   show that you had been injured?                      15   officers, do you think that you had any right
 16         A     No, it didn't show any injuries.         16   that was clearly established at that time?
 17         Q     Okay.  You were standing up at one       17               MR. SHABAZZ:  Objection.
 18   point immediately after you had been handcuffed,     18               THE WITNESS:  What you mean "right"? 
 19   right?                                               19   What you mean?
 20         A     I believe so.                            20               MR. GUEST:  Like a right.  Like a
 21         Q     Okay.                                    21   right as a citizen.
 22               (Pause.)                                 22               MR. SHABAZZ:  Objection as to form.


                                                   225                                                      227
  1               BY MR. GUEST:                             1               THE WITNESS:  To sit there?
  2         Q     And the video did not indicate that       2               BY MR. GUEST:
  3   any of the officers were yelling at you, right?       3         Q     Like a legal right.
  4         A     Not that I know of, no.                   4         A     To be there?
  5         Q     And the video did not indicate that       5         Q     I'm asking you, do you think you had
  6   the officers were treating you disrespectfully,       6   any right at that time, when the officers first
  7   right?                                                7   encountered you, that was clearly established?
  8         A     Not that I'm aware of, no.                8               MR. SHABAZZ:  Objection as to form.
  9         Q     And the video did not show that the       9               THE WITNESS:  Yes.
 10   officers were using any profanity towards you,       10               BY MR. GUEST:
 11   right?                                               11         Q     What?
 12         A     No.                                      12         A     That I can be there.
 13         Q     So they didn't ‐‐ you didn't see the     13         Q     Okay.  Do you think that the police
 14   officers on the video using profanity?               14   officers who encountered you took longer than
 15         A     No.                                      15   necessary when touching your body to put you in
 16         Q     Okay.  As an MPD officer, do you think   16   handcuffs?
 17   that it's a reasonable action to take when you       17         A     I don't get that question.
 18   see a car illegally parked to stop and see what's    18         Q     Sure.  I'll ask it slightly
 19   going on with the car?                               19   differently.  When the officers contacted your
 20         A     If it's illegally parked, if it's        20   body to put you in handcuffs, do you believe that
 21   illegally parked.                                    21   they took longer than they should have?
 22         Q     Then yes?                                22         A     I don't know.  When they contacted my


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  1 body, did they take longer than they should have?           1               BY MR. GUEST:
  2       Q     To put you in handcuffs?                        2         Q     Sure.  If the officers who stopped you
  3       A     No.                                             3   and you had identified yourself as having a
  4       Q     Okay.  Do you think that the officers           4   weapon feared for their safety at that time, do
  5 who contacted you and put you in handcuffs could            5   you think that that belief would have been
  6 have had the reasonable understanding that after            6   unreasonable?
  7 you identified having a gun, that they themselves           7         A     It was no reason why they should fear
  8 were in danger?                                             8   for their safety.
  9       A     No.                                             9         Q     Okay, and why do you say that?  Why do
 10       Q     And why is that?                               10   you say that?
 11       A     Because ‐‐                                     11         A     Nothing was going on.
 12             MR. SHABAZZ:  Can you repeat the               12         Q     And you identified yourself as having 
 13 question?                                                  13   a gun, right?
 14             MR. GUEST:  Sure.                              14         A     That was one of the questions, did I
 15             MR. SHABAZZ:  Go ahead, I'm listening.         15   have a weapon.
 16             MR. GUEST:  I'll try to pull it back.          16         Q     And you said you had a weapon?
 17 The officers who encountered you on November 6th,          17         A     And then I explained what I had.
 18 do you think that it is ‐‐ that they could have            18         Q     Right.  You said you had a weapon
 19 had a reasonable belief that after you identified          19   though, right?
 20 having a weapon, that they could have feared for           20         A     Yes.
 21 their safety?                                              21         Q     Okay, and you told me earlier that the
 22             MR. SHABAZZ:  Objection as to form.            22   Gun Recovery Unit goes around and gets guns off


                                                         229                                                     231
  1               THE WITNESS:  How did they fear for           1   the street, right?
  2   their safety?                                             2         A     Right.
  3               MR. GUEST:  I'm asking you about your         3         Q     And you told me earlier that the Gun
  4   opinion, whether you think that it's possible the         4   Recovery Unit does dangerous work just like any
  5   officers could have been under the reasonable             5   other police officer, right?
  6   belief that they were fearing for their safety            6         A     Right.
  7   after you identified yourself as someone who had          7         Q     And you told me earlier that when the
  8   a weapon?                                                 8   Gun Recovery Unit confronts someone that has a
  9               MR. SHABAZZ:  Objection as to form.           9   weapon, that they themselves are in a dangerous
 10               THE WITNESS:  No.                            10   situation, right?
 11               BY MR. GUEST:                                11         A     No, not necessarily.
 12         Q     You don't think that's possible?             12         Q     Not necessarily, but you admitted that
 13         A     No.                                          13   that's a dangerous situation to put yourself in,
 14         Q     Okay.  Do you think that if the              14   right?
 15   officers had a belief that they were fearing for         15               MR. SHABAZZ:  Objection as to form.
 16   their safety after you identified having a               16               THE WITNESS:  Well, with a gun?
 17   weapon, that that belief would have been                 17               BY MR. GUEST:
 18   unreasonable?                                            18         Q     Right.
 19               MR. SHABAZZ:  Objection.                     19         A     I'm saying it could be dangerous.
 20               THE WITNESS:  I don't understand that        20         Q     It could be, sure.
 21   question.                                                21         A     Yeah.
 22               MR. SHABAZZ:  Objection as to form.          22         Q     And what I'm asking you is because


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  1   these officers had encountered you and you told       1   necessarily take at face value that they may
  2   them that they, that you had a weapon, that it        2   actually be a police officer?
  3   could be that they believed the situation to have     3         A     Right.
  4   posed a threat to their safety, right?                4         Q     Because you can get that kind of stuff
  5               MR. SHABAZZ:  Objection as to form.       5   at Amazon, right?
  6               THE WITNESS:  I don't know why.           6               MR. SHABAZZ:  I mean objection to
  7               MR. GUEST:  Because you said you had      7   form, asked and answered.  Badgering the witness. 
  8   a gun.                                                8   Asked a million times.
  9               MR. SHABAZZ:  Objection as to form.       9               BY MR. GUEST:
 10               THE WITNESS:  I wasn't doing anything.   10         Q     So in a situation where you stop an
 11               BY MR. GUEST:                            11   individual in plainclothes, and that person says
 12         Q     Okay.  But let's just put the fact of    12   to you that they are a police officer, do you
 13   whether you were doing anything aside, okay.         13   also think that person may not be a police
 14         A     Uh‐huh.                                  14   officer?
 15         Q     Right, okay?                             15         A     That's a possibility.
 16         A     Right.                                   16         Q     Right.  So someone could say hey, I
 17         Q     Okay.  Do you agree ‐‐ do you agree      17   have a gun, also say hey, I'm a police officer
 18   that in a circumstance where just when someone       18   and you think to yourself well maybe that
 19   says they have a gun, an officer they had told       19   person's not a police officer, right?
 20   that to could have a reasonable belief that          20         A     That would be profiling if you think
 21   there's a threat to their safety?                    21   they're not.
 22               MR. SHABAZZ:  Objection as to form.      22         Q     I'm asking ‐‐ I'm not saying anything


                                                   233                                                             235
  1               THE WITNESS:  No.                         1 about profiling.  I'm saying if you're in a
  2               BY MR. GUEST:                             2 situation where someone says they have a gun and
  3         Q     Ever?                                     3 someone says to you I'm MPD, you could reasonably
  4         A     Not ever.                                 4 believe that that person is not actually MPD,
  5         Q     Okay.  What would a situation be when     5 right?
  6   someone tells an officer they have a gun, that        6       A     They could not be MPD.
  7   would lead them to have a reasonable belief that      7       Q     Right.  That's possible, right?
  8   they were in a situation that was a threat to         8       A     Right.
  9   their safety?                                         9       Q     So you can be a situation where
 10               MR. SHABAZZ:  Objection as to form.      10 someone has a gun, says they are MPD but they
 11               THE WITNESS:  If they said they had a    11 actually aren't MPD, right?
 12   gun and they're about to do something with it.       12             MR. SHABAZZ:  Objection as to form.
 13               BY MR. GUEST:                            13             THE WITNESS:  That could happen.
 14         Q     Okay.                                    14             MR. GUEST:  So in that situation,
 15         A     That would be safety.                    15 you're dealing with an individual who has a
 16         Q     Okay.  Otherwise, not reasonable to      16 firearm, has a weapon and is not MPD, right?
 17   think there's a dangerous situation involved.        17             MR. SHABAZZ:  Objection as to form.
 18               MR. SHABAZZ:  Objection as to form.      18             THE WITNESS:  Is he black?
 19               BY MR. GUEST:                            19             MR. GUEST:  I'm just saying generally,
 20         Q     Now you said ‐‐ you said earlier that    20 not talking about race.  So just to repeat my
 21   if you see, if you see a police officer wearing a    21 question, you can be in a situation where you
 22   vest that has the word "police" on it, you don't     22 confront an individual who has a gun and says


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  1   he's MPD but he's not, right?                            1 District of Columbia or MPD had to know that
  2               MR. SHABAZZ:  Objection as to form.          2 Officer Pinto or Officer Clifford were conducting
  3               THE WITNESS:  Yes, we can be in that         3 illegal searches and seizures, detainments and
  4   situation.                                               4 arrests?
  5               COURT REPORTER:  I'm sorry, sir.             5             MR. SHABAZZ:  Objection as to form.
  6               MR. SHABAZZ:  Objection as to form.          6             THE WITNESS:  It was.  It was illegal. 
  7               (Simultaneous speaking.)                     7 It was just illegal.
  8               MR. GUEST:  But in that situation, if        8             BY MR. GUEST:
  9   you are dealing with an individual who says he           9       Q     No.  I'm asking what evidence do you
 10   has a gun; you're not sure whether or not he is         10 have ‐‐ okay, I understand your position on
 11   MPD because he's only just told you he's MPD,           11 November 6th, right?  You think that was an
 12   that can be a dangerous situation, right?               12 illegal stop, right?
 13               MR. SHABAZZ:  Objection as to form.         13       A     It was.
 14               THE WITNESS:  It could, it could.           14       Q     Okay.  Now why do you say that the
 15               MR. GUEST:  Okay, and in that               15 District of Columbia or the MPD should have known 
 16   situation after someone has identified themselves       16 that Pinto, Clifford were conducting illegal
 17   as having a weapon, you don't know if they're MPD       17 searches and seizures, detainments and arrests?
 18   or not.  You're a police officer.  Is it                18       A     Because of how they were addressing
 19   reasonable to take action to determine whether or       19 people.
 20   not that individual is actually MPD, right?             20       Q     What evidence do you have of that? 
 21               MR. SHABAZZ:  Objection as to form.         21 And I'm not talking about November 6th and your
 22               THE WITNESS:  Yes.                          22 belief that that was an illegal stop.  I'm asking


                                                        237                                                            239
  1             MR. GUEST:  Okay.  And so given that,          1 outside of that, do you have any evidence that
  2 it is possible that how Officers Pinto, Clifford           2 MPD or the District of Columbia should have known
  3 and Roe conducted themselves on November 6, 2013,          3 that Officer Pinto and Officer Clifford had
  4 after you had identified yourself as having a              4 allegedly been conducting illegal searches and
  5 weapon, but they were not certain that you were            5 seizures, detainments and arrests?
  6 MPD or not, they acted reasonably?                         6       A     I don't have anything.
  7             MR. SHABAZZ:  Objection, objection.            7       Q     What evidence do you have as to
  8 Why you want to do this?  I'm serious.  Why you            8 whether the District of Columbia or MPD knew or
  9 want to do this?  You know this ain't coming in.           9 should have known that Officer Pinto and Officer
 10 You know this stuff ain't coming in.  Why you             10 Clifford were allegedly engaging in dangerous,
 11 want to ask all these questions that you know are         11 illegal, unprofessional and unconstitutional
 12 not coming in?                                            12 actions?
 13             You know you're not an expert.  You           13             MR. SHABAZZ:  Objection to the form.
 14 know he can't testify to the legal standard, but          14             THE WITNESS:  After this incident?
 15 you take up all this time?  Can I ask you that            15             BY MR. GUEST:
 16 question?                                                 16       Q     Yes.
 17             MR. GUEST:  No.                               17       A     They should have known about it after
 18             MR. SHABAZZ:  I'm asking.  I mean you         18 this incident.
 19 know you're just wasting time.                            19       Q     After this incident?
 20             (Pause.)                                      20       A     Yes.
 21             MR. GUEST:  What ‐‐ I'm almost done.          21       Q     Okay.  But you have no evidence, apart
 22 What evidence do you have, if any, that the               22 from the incident that you're involved in, that


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                                                   240                                                     242
  1   the District of Columbia knew or should have          1         Q     And that happens about how often?
  2   known that Officer Pinto or Officer Clifford were     2         A     Monday through Friday.
  3   engaging in allegedly dangerous, illegal,             3         Q     All right, and have you ever had any
  4   unprofessional and unconstitutional actions?          4   problems there before?
  5         A     I don't have anything.                    5               MR. GUEST:  Objection to the form.
  6         Q     Right.  You don't have any evidence       6               THE WITNESS:  No, never.
  7   that the District of Columbia or MPD knew or          7               MR. SHABAZZ:  Has any neighbors
  8   should have known that Officer Pinto or Officer       8   complained to you?
  9   Clifford were engaged in any allegedly racial         9               MR. GUEST:  Objection to the form.
 10   targeting?                                           10               THE WITNESS:  No.
 11               MR. SHABAZZ:  Objection as to form.      11               BY MR. SHABAZZ:
 12               THE WITNESS:  I don't have anything.     12         Q     Have the police ever been called on
 13               MR. GUEST:  Okay.  I'm going to          13   you at that site?
 14   quickly look through my notes for like two           14         A     No.
 15   minutes, is that okay, and then we'll wrap up,       15         Q     Okay.  On this day, November 6th,
 16   all right?                                           16   2013, was anyone ‐‐ did anyone ask you to leave
 17               MR. SHABAZZ:  Uh‐huh.                    17   that area where you were, that address?  Did
 18               (Pause.)                                 18   anyone ask you?
 19               BY MR. GUEST:                            19         A     No.
 20         Q     If there are documents that state the    20         Q     Did anyone speak to you about being
 21   officers approached you after six o'clock on         21   there?
 22   November 6th, you would disagree with that?          22         A     No.


                                                   241                                                     243
  1         A     Yes.                                      1         Q     Okay.  During the entire incident
  2         Q     Okay.                                     2   where the ‐‐ when you were being detained or
  3               (Pause.)                                  3   arrested, the entire time, did they ‐‐ was there
  4               MR. GUEST:  All right, Mr. Robinson.      4   any mention that a call was made in reference to
  5   Thanks for your time today.  I appreciate it.         5   you at that site?
  6               THE WITNESS:  All right.                  6               MR. GUEST:  Objection to form.
  7         CROSS EXAMINATION                               7               THE WITNESS:  Yes.
  8               BY MR. SHABAZZ:                           8               BY MR. SHABAZZ:
  9         Q     Hi, Mr. Robinson.  I need to ask you      9         Q     Okay.  What was said?
 10   a few questions and we'll be ready to go home.       10         A     GRU stated that they had a call from
 11   The 5500 block of C Street is where your mother      11   where I was sitting at, but nobody lived there.
 12   lives, right?                                        12         Q     Who said that?
 13         A     Correct.                                 13         A     The Gun Recovery Unit.
 14         Q     And how often are you there before you   14         Q     Which one?
 15   pick up your children?                               15         A     Who was driving?
 16               MR. GUEST:  Objection to the form.       16         Q     What did he say?
 17               THE WITNESS:  Every day.                 17         A     He said that we got a call for this
 18               BY MR. SHABAZZ:                          18   incident, for this location.
 19         Q     You have to go there ‐‐ you go there.    19         Q     Did he specify what the call was
 20   Is it true that you go there before you pick up      20   about?
 21   your children?                                       21         A     No, he didn't.
 22         A     Yes, that's correct.                     22         Q     Did you ask?


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